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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


  IN RE:                                         §
                                                 §
  ANSON FINANCIAL INC.,                          §         CASE NO. 21-41517-elm-11
                                                 §
          DEBTOR.                                §

        CERTIFICATE OF SERVICE REGARDING PLAN SOLICITATION
        PACKAGE (RE: DOCKET NO. 262. 263)

 The undersigned hereby certifies that a true and correct copy of the Debtor’s Second Amended
 Subchapter V Plan of Reorganization of Anson Financial, Inc. Dated March 15, 2022 (Docket
 No. 262), and Notice (I) of Hearing to Consider Confirmation of Second Amended Subchapter V
 Plan of Reorganization of Anson Financial, Inc. dated March 15, 2022 and (II) Related
 Deadlines (Docket No. 263), and a proposed ballot all were mailed to the parties in the attached
 mail service list on March 16, 2022.


 Dated: April 15, 2022                  Respectfully submitted:

                                        WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                        By:       /s/ Jeff Carruth
                                              JEFF CARRUTH (TX SBN: 24001846)
                                              3030 Matlock Rd., Suite 201
                                              Arlington, Texas 76105
                                              Telephone: (713) 341-1158
                                              Fax: (866) 666-5322
                                              E-mail: jcarruth@wkpz.com


                                        ATTORNEYS FOR
                                        ANSON FINANCIAL, INC.
                                        DEBTOR AND DEBTOR IN POSSESSION




 CERTIFICATE OF SERVICE — Page 1                                                       2124389.DOCX
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Label Matrix for local noticing                 Ghrist Law Firm PLLC                          JPMorgan Chase Bank, N.A. s/b/m/t Chase Bank
0539-4                                          4016 Gateway Drive Suite 130
                                               omit                                           14841
                                                                                              omitDallas Parkway, Suite 425
Case 21-41517-elm11                             Colleyville, TX 76034-5958                    Dallas, TX 75254-8067
Northern District of Texas
Ft. Worth
Wed Mar 16 08:01:53 CDT 2022
Wells Fargo Bank, National Association          501 W. Tenth Street                           67th Judicial District Court of Tarrant Coun
c/o Larry Chek                                  Fort Worth, TX 76102-3637
                                               omit                                           100 N Calhoun Street 4th Floor
                                                                                              omit
omit Centre One
Campbell                                                                                      Fort Worth, Texas 76196-0207
8350 N. Central Expressway, Suite 1111
Dallas, TX 75206-1625

Anson Financial, Inc.                            Arvella Godbey                               B. Frazier Management, Inc.
62 Main Street, Suite 310                        568 Willowview Dr.                           CO Law Office of Caleb Moore
Colleyville, TX 76034-2931                       Saginaw, TX 76179-0965                       2205 Martin Dr., Ste 200
                                                                                              Bedford , TX 76021-6083


B. Frazier Management, Inc. and Brian Frazie     Beall Private Investments, LP - Affirm       Carol Godbey
c/o Lyndel Anne Vargas                           5712 Colleyville Blvd., Suite 200            P.O. Box 136273
Cavazos Hendricks Poirot, PC                     Colleyville, TX 76034-6068                   Fort Worth , TX 76136-0273
900 Jackson St., Suite 570
Dallas, TX 75202-2413

City of Colleyville                             City of Colleyville                           G. Parker Eldridge
% Perdue Brandon Fielder Et Al                  c/o Perdue Brandon Fielder et al              9420 Capiland Rd.
500 E. Border Street                           omit
                                                500 East Border Street, Suite 640             Desert Hot Springs, CA 92240-1101
Suite 640                                       Arlington, TX 76010-7457
Arlington, TX 76010-7457

Ghrist Law Firm PLLC                            Grapevine-Colleyville ISD                     Grapevine-Colleyville ISD
CO Ian Ghrist
omit                                            c/o Perdue Brandon Fielder et al              c/o Perdue Brandon Fielder et al
4016 Gateway Drive Suite 130                    omit
                                                500 E Border Street, Suite 640                500 East Border Street, Suite 640
Colleyville, Texas 76034-5958                   Arlington, TX 76010-7457                      Arlington, TX 76010-7457


Heritage Credit, LLC                             Internal Revenue Service                     (p)JPMORGAN CHASE BANK N A
5712 Colleyville Blvd., Suite 200                Centralized Insolvency Operation             BANKRUPTCY MAIL INTAKE TEAM
                                                                                             omit
Colleyville, TX 76034-6068                       PO Box 7346                                  700 KANSAS LANE FLOOR 01
                                                 Philadelphia, PA 19101-7346                  MONROE LA 71203-4774


JPMorgan Chase Bank, N.A.                        Jentex Financial, Inc.                       Jentex Financial, Inc.
s-b-m-t Chase Bank USA, N.A.
omit                                             c/o: Cashmire Financial Services             226 Bailey Ave., Suite 101
CO National Bankruptcy Services, LLC             226 Bailey Ave, Ste 104                      Fort Worth , TX 76107-1260
P.O. Box 9013                                    Fort Worth, TX 76107-1260
Addison, Texas 75001-9013

Joseph Imad Yammine                              Larry Starks                                 Leroy J. York Family Limited Partnership
PO Box 11781                                     7045 Oakbluff Dr.                            508 N. Havenwood Lane
Fort Worth, TX 76110-0781                        Dallas , TX 75254-2754                       Fort Worth, TX 76112-1013



Leroy York                                       Lorraine (Rainey) York Dukes                 Simone Barron
508 N. Havenwood                                 1100 Elizabeth Blvd.                         PO Box 11781
Fort Worth , TX 76112-1013                       Fort Worth, TX 76110-2619                    Fort Worth, TX 76110-0781
                Case 21-41517-elm11 Doc 278 Filed 04/15/22                        Entered 04/15/22 13:29:01             Page 7 of 80
Small Business Administration                        Tarrant County                                        Tarrant County
SBA Disaster Loan Service Center                     Linebarger, Goggan, Blair & Sampson, LLP              Linebarger Goggan Blair & Sampson, LLP
1545 Hawkins Blvd., Ste 202                          CO Laurie A. Spindler                                 c/o Laurie A. Spindler
El Paso , TX 79925-2654                             omit
                                                     2777 N. Stemmons Fwy Suite 1000                       2777 N. Stemmons Fwy. Ste. 1000
                                                     Dallas, TX 75207-2328                                 Dallas, TX 75207-2328

U.S. Small Business Administration                    United States Trustee                                Wells Fargo Bank, National Association
200 W. Santa Ana Blvd, Ste 740                        1100 Commerce Street                                 Attn:
                                                                                                           omit Dan Kline, V.P.
Santa Ana, CA 92701-7534                              Room 976                                             400 W. 15th Street, Suite 430
                                                      Dallas, TX 75242-0996                                Austin, TX 78701-1654


York Family Partnership                               Areya Holder Aurzada (SBRA V)                       Christopher Marvin Lee
508 N. Havenwood                                      Law Office of Areya Holder, P.C.                    Lee Law Firm, PLLC
Fort Worth , TX 76112-1013                            901 Main Street, Suite 5320                        omit
                                                                                                          8701 Bedford Euless Road
                                                      Dallas, TX 75202-3700                               Suite 510
                                                                                                          Hurst, TX 76053-3874

Jeffery D. Carruth                                   Kathryn Hernandez
Weycer, Kaplan, Pulaski & Zuber, P.C.                Magan Law, PLLC
3030 Matlock Rd., Suite 201                          62 Main St.
                                                   omit
Arlington, TX 76015-2936                             Suite 310
                                                     Colleyville, TX 76034-2931



                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


JPMorgan   Chase Bank, N.A.
c/o Mark   A. Jarman
omitBox
P.O.       29550 Mail Code AZ1-42E3
Phoenix,   AZ 85038




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)JPMORGAN CHASE BANK, N.A.                          (u)Leroy J. York Family Limited Partnership          (u)Magan Law, PLLC




(u)B. Frazier Management, Inc.                        (u)Brian Frazier                                     (u)Joe Michael Ferguson
                                                      3345 Western Center Blvd., #160
                                                      Ft. Worth



(u)Joseph I Yammine                                   (u)Simone Barron                                     (u)Sterling Bates
              Case 21-41517-elm11 Doc 278 Filed 04/15/22   Entered 04/15/22 13:29:01   Page 8 of 80
End of Label Matrix
Mailable recipients   40
Bypassed recipients    9
Total                 49
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                T R A N S M I T T A L             M E M O R A N D U M


 FROM:           Weycer, Kaplan, Pulaski & Zuber, P.C. (Jeff Carruth, jcaruth@wkpz.com)
 RE:             Case No. 21-41517; In re: Anson Financial, Inc.; in the United States
                 Bankruptcy Court for the Northern District of Texas, Fort Worth Division.
                 CHAPTER 11 PLAN SOLICITATION PACKAGE
 DATE:           March 16, 2022


 Enclosed please find copies of the following items in connection with the solicitation of the
 proposed Chapter 11 plan of Anson Financial Inc.

  Item No.      Docket No.                           Description
      1            n/a     Ballot
      2            262     Second Amended Subchapter V Plan of Reorganization of Anson
                             Financial Inc. Dated March 15, 2022
       3            263      Notice (I) of Hearing to Consider Confirmation of Second Amended
                             Subchapter V Plan of Reorganization of Anson Financial, Inc.
                             dated March 15, 2022 and (II) Related Deadlines.


 PLEASE TAKE NOTE OF THE DATES AND DEADLINES IN THE NOTICE OF
 HEARING, ITEM NO. 3

 Please contact the undersigned if you have any questions.

 Jeff Carruth
 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
 3030 Matlock Rd. Suite 201
 Arlington, Texas 76105
 Telephone: (713) 341-1158
 Fax: (866) 666-5322
 jcarruth@wkpz.com
 ATTORNEYS FOR
 ANSON FINANCIAL INC.
Case 21-41517-elm11 Doc 278 Filed 04/15/22            Entered 04/15/22 13:29:01      Page 10 of 80




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

   IN RE:                                         §
                                                  §
   ANSON FINANCIAL, INC.,                         §               CASE NO. 21-41517
                                                  §
          DEBTOR.                                 §

        BALLOT REGARDING SECOND AMENDED SUBCHAPTER V PLAN
        OF REORGANIZATION OF ANSON FINANCIAL, INC. DATED
        MARCH 15, 2022

 TO ALL CREDITORS:
          You may vote on the Second Amended Subchapter V Plan of Reorganization of
 Anson Financial, Inc. (Docket No. 262) (the "Plan") by completing and returning this Ballot as
 set forth below. In order to have your vote count you must return this Ballot. This Ballot should
 be returned to:

               Jeff Carruth
               WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
               3030 Matlock Rd., Suite 201
               Arlington, TX 76015
               713-341-1158, fax (866) 666-5322
               jcarruth@wkpz.com

  on or before April 13, 2022 at 11:59 p.m. Central Time (CT) (the "Ballot Deadline"), the
  date and time set forth in the Notice (I) of Hearing to Consider Confirmation of Second
  Amended Subchapter V Plan of Reorganization of Anson Financial, Inc. Dated March 15, 2022
  and (II) Related Deadlines.
         Ballots must be received by the Voting Deadline in order to be counted. You should
  review the Disclosure Statement and the Plan before you vote.
         Your ballot must be signed in order to be counted.



                           {CONTINUED ON FOLLOWING PAGE}




 BALLOT REGARDING PLAN OF REORGANIZATION OF ANSON FINALCIAL, INC. — Page 1 of 2        2114787.DOCX[1]
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 CLASS 1 — INVESTOR NOTES                      CLASS 2 — SMALL BUSINESS
                                               ADMINISTRATION

 UNIMPAIRED – NOT ENTITLED TO VOTE             UNIMPAIRED – NOT ENTITLED TO VOTE
 CLASS 3 — General Unsecured Creditors         CLASS 4 — Equity Interests

 For:                 Against:
                                               UNIMPAIRED – NOT ENTITLED TO VOTE

 Amount of Claim: $



 SIGNATURE FOR BALLOT:                    Your ballot must be signed in order to be counted.



 NAME OF CREDITOR:

 Signature:

 By [Print Name]:

 Title:

 Date:




 BALLOT REGARDING PLAN OF REORGANIZATION OF ANSON FINALCIAL, INC. — Page 2 of 2   2114787.DOCX[1]
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

     IN RE:                                                §
                                                           §
     ANSON FINANCIAL, INC.,                                §                CASE NO. 21-41517
                                                           §
            DEBTOR.                                        §

         NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF SECOND
         AMENDED SUBCHAPTER V PLAN OF REORGANIZATION OF ANSON
         FINANCIAL, INC. DATED March 15, 2022 AND (II) RELATED DEADLINES

 The Court has set a hearing (the “Confirmation Hearing”) as set forth below to consider the
 confirmation of the Seconded Amended SubChapter V Plan of Reorganization of Anson Financial,
 Inc. Dated March 15, 2022 (Docket No. 262) (the “Plan”). Notice is hereby provided of the
 Confirmation Hearing and of the related dates and deadlines as set forth below.

         1.       April 13, 2022 at 11:59 p.m. Central Time (CT) (the “Ballot Deadline” as shown
                  in the Plan) is provided as the last day for filing written acceptances or rejections
                  of the Debtor’s proposed Plan which must be received on that date at the offices of
                  Jeff Carruth, Weycer, Kaplan, Pulaski & Zuber, P.C. 3030 Matlock Rd., Suite 201
                  Arlington, TX 76015, facsimile (866) 666-5322, email jcarruth@wkpz.com.
                  Ballots may be accepted by mail, fax, and/or email but must arrive prior to the
                  Ballot Deadline.

         2.       April 17, 2022 at 11:59 p.m. Central Time (CT) (the “Objection Deadline” as
                  shown in the Plan) is provided as the last day for filing and serving written
                  objections to confirmation of the Plan pursuant to Fed. R. Bankr. P. 3020(b)(1) and
                  L.B.R. 3020-1.1

         3.       The Court will conduct an evidentiary hearing regarding confirmation of the Plan
                  (the “Confirmation Hearing” as shown in the Plan) on APRIL 21, 2022, at 9:30
                  A.M. Central Time (CT), which hearing may be adjourned or continued to a
                  different date without further notice other than notice given in open court at such
                  hearing.

         4.       The Confirmation Hearing will be conducted electronically before the Honorable
                  Edward L. Morris at the Eldon B. Mahon U.S. Courthouse, 501 W. Tenth Street,
                  Room 204, Fort Worth, Texas 76102. THE HEARING WILL BE IN PERSON
                  AND ALSO BE CONDUCTED BY THE WEBEX VIDEO AND AUDIO
                  FACILITIES OF THE COURT.


 1
   L.B.R. 3020-1 Chapter 11 - Confirmation. Unless the court orders otherwise, an objection to confirmation shall be
 filed and served no later than 4 days prior to the date set for hearing on confirmation of the plan.

 NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF SECOND AMENDED SUBCHAPTER V PLAN OF
 REORGANIZATION OF ANSON FINANCIAL, INC. DATED MARCH 15, 2022 AND (II) RELATED DEADLINES —
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                Webex information is available at the following link.

                https://www.txnb.uscourts.gov/sites/txnb/files/hearings/WebEx%20Hearing%20I
                nstructions%20for%20Judge%20Morris_1.pdf

 PLEASE CONTACT THE UNDERSIGNED IF YOU WOULD LIKE TO RECEIVE A
 COPY OF THE PLAN OR HAVE ANY QUESTIONS.



  Dated: March 15, 2022                     Respectfully submitted:

                                            WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                            By:       /s/ Jeff Carruth
                                                  JEFF CARRUTH (TX SBN:. 24001846)
                                                  3030 Matlock Rd., Suite 201
                                                  Arlington, Texas 76105
                                                  Telephone: (713) 341-1158
                                                  Fax: (866) 666-5322
                                                  E-mail: jcarruth@wkpz.com

                                            ATTORNEYS FOR
                                            ANSON FINANCIAL, INC.
                                            DEBTOR AND DEBTOR IN POSSESSION


                                   CERTIFICATE OF SERVICE
 A separate certificate of service regarding the Plan solicitation set will be filed.
                                                       /s/ Jeff Carruth
                                                JEFF CARRUTH




 NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF SECOND AMENDED SUBCHAPTER V PLAN OF
 REORGANIZATION OF ANSON FINANCIAL, INC. DATED MARCH 15, 2022 AND (II) RELATED DEADLINES —
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                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


   IN RE:                                             §
                                                      §
   ANSON FINANCIAL INC.,                              §           CASE NO. 21-41517-elm-11
                                                      §
          DEBTOR.                                     §

        SECOND AMENDED SUBCHAPTER V PLAN OF REORGANIZATION OF
        ANSON FINANCIAL INC. DATED March 15, 2022


 1. INTRODUCTION AND BACKGROUND INFORMATION.

 1.1.   This Second Amended Subchapter V Plan of Reorganization of Anson Financial Inc. Dated March
        15, 2022 (the “Plan”) under Subchapter V of Chapter 11 of the Bankruptcy Code, 11 U.S.C. § 1101
        et seq. (the “Code”) proposes to pay creditors of Anson Financial Inc. (the “Debtor” or “Anson”)
        from cash flow from future operations.

 1.2.   Anson filed this case on June 25, 2021 as a conventional Chapter 11 small business case. On July
        27, 2021 Anson amended its voluntary petition (Docket No. 19) to proceed under Subchapter V of
        Chapter 11. Areya Holder Aurzada is the Subchapter V Trustee.

 1.3.   For convenience, this plan is based upon the official small business form, Form B25B. Controlling
        definitions and rules of construction appear in Section 9 below.

 1.4.   The proposed distributions under the Plan and the material terms of the Plan, including the
        estimated distribution to unsecured creditors is set forth in TABLE 1—Key Plan Terms, Section 2
        of the accompanying Plan ("TABLE 1"). As provided throughout herein, the Plan generally
        provides for (1) the full payment and/or continued servicing of the Investor Notes (as defined
        below) and (2) full payment of all general unsecured claims from earnings and/or the net disposable
        income of the Debtor over the sixty (60) months from the Effective Date (the “Plan Term”).

 1.5.   All creditors and equity security holders should refer to Section 3 through Section 6 of this Plan for
        information regarding the precise treatment of their claim. You should read these papers carefully
        and discuss them with your attorney, if you have one. (If you do not have an attorney, you may
        wish to consult one.)

 1.6.   Description and History of the Debtor’s Business. Anson is a Texas corporation that has been
        in business for thirty-five (35) years primarily focused on the real estate lending field. At the core
        of its business, Anson originated or purchased debt instruments secured by real property (e.g.
        promissory notes and deeds of trust) (collectively, the “Investor Notes”) and then assigns interests
        in the Investor Notes to investors (the “Investors’) through collateral assignments. Anson generates
        its revenues by maintaining ownership of a points spread between the underlying obligation and
        the amount promised to Investors (the “Notes Income”).



 SECOND AMENDED SUBCHAPTER V PLAN OF REORGANIZATION OF
 ANSON FINANCIAL INC. DATED March 15, 2022 — Page 1                                              2107588.DOCX[1]
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        Until December 31, 2020, Anson also received revenue as the servicer of the Investor Notes. On
        or about December 31, 2020, AFI Capital, Inc. d/b/a AFI Management Group, LLC. (“AFI”)
        commenced its role as servicer of the Investor Notes and holder and conduit of the payments
        received form the underlying obligors of the Investor Notes. Anson pays a monthly fee to AFI in
        the amount of $35.00 per loan. (By way of example, for the month of August, 2021, Anson paid
        AFI the amount of $3,430 for the servicing of 98 loans in the Investor Notes portfolio.)
        Accordingly, Anson ceased its function as holder and conduit of the note payments and then the
        funds disbursed to the Investors. Anson’s own interest in the Investor Notes was unaltered by the
        transitioning of the servicing function to AFI.

        The transition with respect to the servicing aspects of Anson’s business was necessitated by the
        threat to Anson’s assets by various parties pursuing litigation against Anson (as described in Plan
        §1.8 below) and the enormous potential threat to the interruption of the payment stream from the
        underlying obligors of the Investor Notes to the Investors from the litigation.

        AFI is owned 100% by Lonesome Dove Holdings, Inc. J. Michael Ferguson is the President sole
        Director of AFI.

 1.7.   Insiders and Management of Anson. J. Michael Ferguson founded Anson 35 years ago and has
        served as President and Sole Director of Anson since 2003, and he will continue to serve as
        President and Sole Director following confirmation of this Plan.

 1.8.   Significant events before and during the Chapter 11 case.

        1.8.1.   Events Leading to Chapter 11 Filing. This Chapter 11 case was commenced in terms of
                 timing due the threat from Ian Ghrist and Ghrist Law Firm P.C. (together “Ghrist”) of
                 Anson being placed into a receivership. Overall, the purpose of this Chapter 11 has been
                 to bring to a conclusion a long series of lawsuits primarily prosecuted by Ghrist (who was
                 once Anson’s own attorney) and otherwise involving Frazier Management, Inc. (“Frazier”)
                 and the collaboration between Frazier’s attorney, Caleb Moore, and Ghrist. The style and
                 caption of the subject lawsuits is listed below (the “Lawsuits List”).

                     Case ## and Court           Plaintiffs / Appellants /    Defendants / Appellees /
                                                       Petitioners                 Respondents

                  The following pending actions involving Ian Ghrist and Ghrist Law Firm P.C.,
                  whether in the district court, Court of Appeals, or Texas Supreme Court, are
                  referred to hereinafter as the “Ghrist Lawsuits.”

                  017-287611-16; 17th          Ghrist Law Firm, PLLC         J. Michael Ferguson, PC, J.
                  District Court, Tarrant      and Ian Ghrist                Michael Ferguson, Anson
                  County, Texas; 02-18-                                      Financial, Inc. and MBH
                  00332-CV, 2nd Court of                                     Real Estate, LLC
                  Appeals; No. 21-0565;
                  Supreme Ct. of Texas.

                  02-18-00332-CV, 2nd          J. Michael Ferguson, PC, J.   Ghrist Law Firm, PLLC
                  Court of Appeals, Fort       Michael Ferguson, Anson       and Ian Ghrist
                  Worth, Texas.                Financial, Inc. and MBH
                                               Real Estate, LLC


 SECOND AMENDED SUBCHAPTER V PLAN OF REORGANIZATION OF
 ANSON FINANCIAL INC. DATED March 15, 2022 — Page 2                                           2107588.DOCX[1]
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                 Case ## and Court             Plaintiffs / Appellants /    Defendants / Appellees /
                                                     Petitioners                 Respondents

              No. 21-0565; Supreme Ct.        J. Michael Ferguson, PC      Ghrist Law Firm, PLLC
              of Texas.                       and J. Michael Ferguson      and Ian Ghrist

              067-311209-19, 67th             MBH Real Estate, LLC,        Ghrist Law Firm, PLLC
              District Court, Tarrant         AFI Loan Servicing, LLC,     and Ian Ghrist
              County, Texas. **alleged        Anson Financial, Inc. and
              post judgment discovery         J. Michael Ferguson, PC
              sanctions are interlocutory
              orders.

              07-20-00027-CV, 7th Ct of       MBH Real Estate, LLC,        Ghrist Law Firm, PLLC
              Appeals, Amarillo, Texas.       AFI Loan Servicing, LLC,     and Ian Ghrist
                                              Anson Financial, Inc. and
              **Mandate issued on             J. Michael Ferguson, PC
              12/21/2020

              DC-18-09192, 192nd              J. Michael Ferguson, PC      Gasget, LLC (Ian Ghrist
              Judicial District Court,        and AFI Loan Servicing,      owns Gasget, LLC)
              Dallas County, Texas.           LLC

                                         Other Lawsuits (Non-Ghrist Lawsuits)

              236-269254-13, 236th            Shawn Coker, et al           Metro Buys Homes, LLC,
              District Ct., Tarrant                                        et. al.
              County, Texas.
              (Receivership in this case
              is what the dispute has
              been about)

              342-288776-16, 342nd            B. Frazier Management,       Anson Financial, Inc.
              District Court, Tarrant         Inc. fka Frazier Asset
              County, Texas.                  Management, Inc. and
                                              Brian Frazier

              2019-001471-3, County           Anson Financial, Inc.        Caleb Moore and The Law
              Court at Law No. 3,                                          Firm of Caleb Moore,
              Tarrant County, Texas.                                       PLLC

              02-19-00201-CV, 2nd             Anson Financial, Inc.        Caleb Moore and The Law
              Court of Appeals, Fort                                       Firm of Caleb Moore,
              Worth, Texas.                                                PLLC



             Due to the volume of litigation, the Debtor reserves the right amend the Lawsuit List by
             one or more supplements to the Plan filed prior to the Confirmation Hearing.




 SECOND AMENDED SUBCHAPTER V PLAN OF REORGANIZATION OF
 ANSON FINANCIAL INC. DATED March 15, 2022 — Page 3                                        2107588.DOCX[1]
Case
Case21-41517-elm11
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                     On September 23, 2021, Anson removed Case No. 067-311209-19 and Case No. 342-
                     288776-16 to this Court, which actions is now assigned Adversary No. 21-04058-elm. On
                     or about February 16, 2022, the Court remanded Adversary No. 21-04058 back to the state
                     court (the “Ghrist Adversary Proceeding”).

                     Following the remand of the Christ Adversary Proceeding, on February 22, 2022, a bill of
                     review was filed in an action styled as Cause No. 067-332086-22; MBH Real Estate, LLC;
                     AFI Loan Servicing, LLC; Anson Financial, Inc., and J. Michael Ferguson, P.C.,
                     Petitioners vs. Ian Ghrist and Ghrist Law Firm, PLLC, Respondents, in the 67th District
                     Court in and for Tarrant County, Texas (the “Bill of Review”).

                     A discussion relating to a global resolution of all disputes between Anson and Christ
                     appears below.

                     On November 1, 2021, Anson removed Case No. 342-288776-16 to this Court, which
                     action is now assigned Adversary No. 21-04071-elm (the “Frazier Adversary
                     Proceeding”).

            1.8.2.   Events during and information relating to this Bankruptcy Case: The entirety of the events
                     that have occurred during this Chapter 11 case may be found on docket sheet of this case
                     available at the Court or through the PACER website of the Court,
                     https://ecf.txwb.uscourts.gov/. Any of the documents on file in this case may be obtained
                     by contacting the undersigned law firm or are available at the following shared folder link
                     shown in the footnote below and selecting the folder for this case.1

                     The post-petition activity related to the Frazier Adversary Proceeding and the Ghrist
                     Adversary Proceeding are referenced and described above.

                     The Debtor has objected to Proof of Claim No. 5 and Proof of Claim No. 6 filed by Ghrist.

                     The Debtor also has objected to Proof of Claim No. 20 filed by Frazier, which claim
                     objection is consolidated with the Frazier Adversary Proceeding. Trial docket call in the
                     Frazier Adversary Proceeding is scheduled to occur on April 4, 2022 as of the filing of this
                     Plan.

                     After the Petition Date, two additional actions were commenced against the Debtor as
                     referenced and described below. As of the filing of this Plan, approval of a settlement
                     regarding the Sterling Bates matter is pending before the Court (see Docket No. 259). The
                     Debtor will defend the Joseph Yammine adversary proceeding, and the Debtor does not
                     believe that Yammine is entitled to any recovery and thus has objected to the underlying
                     proofs of claim and otherwise constructed this Plan accordingly.2




 1
     https://drive.google.com/drive/folders/1XPWkG_8WZApJLcj7Z-uzsELUbw1SB2hn?usp=sharing
 2
     The docket items from these two adversary proceedings are included in the shared folder link above.

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                                Case No.                       Plaintiff(s)                    Defendant(s)

                      Cause No. 048-330187-           Sterling Bates                   Anson Financial Inc.
                      21, 48th District Court,
                      Tarrant Co. Texas3

                      Adv. No. 22-04008               Joseph Yammine dba JW            Anson Financial, Inc., S &
                                                      Construction                     F Funding, LLC, and
                                                                                       Chany Development, Inc.

                     On March 7, 2022, Anson, J. Michael Ferguson, and Ian Ghrist, and all pertinent affiliates
                     and subsidiaries related thereto, entered into a global settlement agreement to finally
                     resolve all disputes among the parties and to release any and all claims. The Anson
                     bankruptcy estate did not provide any funds towards this settlement. As a result of the
                     global settlement, Anson has or will dismiss the Bill of Review with prejudice, Ghrist has
                     or will withdraw Proof of Claim No. 5 and Proof of Claim NO. 6, and any and all other
                     pending actions will be dismissed with prejudice.

            1.8.3.   Retention of avoidable transfers and other claims and causes of action of the estate. Anson
                     shall RETAIN as an asset after the Effective Date for the benefit of the estate and/or the
                     reorganized debtor (i) all avoidance actions and/or any other claims, causes of action,
                     and/or any and all other lawsuits under Code §§544, 547, 548, 549, and/or 550, including
                     any objections to claims and any related set offs, and any and all facts, claims, issues, rights,
                     remedies, and/or defenses related thereto, including the claims and causes of action set
                     forth in Exhibit ANS305.01, (ii) any other claims, causes of action, and/or any and all
                     other lawsuits, civil actions, contested matters, and/or adversary proceedings which are
                     referenced and described elsewhere in this Plan and/or otherwise which are pending as of
                     the confirmation of the Plan in or outside of this bankruptcy case, or which could have been
                     brought or asserted before the confirmation of the Plan, and any and all facts, claims, issues,
                     rights, remedies, and/or defenses related thereto, and (iii) further including the right to
                     amend pleadings and assert revised and/or new claims as provided in any applicable
                     scheduling order, rule of procedure, or other applicable law.

                     However, Anson is proposing a 100% payment plan to general unsecured creditors and
                     thus does not believe that it will be necessary to pursue any avoidance actions in order to
                     fully fund the Plan.4

                     Otherwise, Anson may provide notice of additional claims and/or causes of action by a
                     supplement to the Plan to be filed within seven (7) days of the Confirmation Hearing.


            1.8.4.   Objections to Claims. Except to the extent that a claim is already allowed pursuant to a
                     final non-appealable order, Anson reserves the right to object to all claims (including
                     scheduled claims) through and until and even after the Effective Date. Therefore, even if
                     your claim is allowed for voting purposes, you may not be entitled to a distribution if an



 3
     See also Docket No. 221, motion to lift stay filed by Sterling Bates, and Rule 9019 motion, Docket No. 259.
 4
     See also Plan §13.2 regarding retained causes of action.

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                  objection to your claim is later upheld. Any objection to a proof of claim shall be deemed
                  to be an amendment to the Schedules previously filed by Anson.

 1.9.    Current And Historical Financial Conditions.

         1.9.1.   The assets and liabilities of Anson are described in the Schedules (Docket No. 16), as may
                  be amended,5 and Statement of Financial Affairs (Docket No. 17) filed by Anson in this
                  case.     A summary of the assets of and claims against Anson appears in
                  Exhibit ANS301.016 and Exhibit ANS302.01 attached hereto. The deadline for filing
                  proofs of claim occurred on November 9, 2021 and February 7, 2022 for governmental
                  entities.

         1.9.2.   A liquidation analysis appears in Exhibit ANS303.01.

         1.9.3.   Projections in support of the Plan appear in Exhibit ANS304.01.

         1.9.4.   Anson reserves the right to amend any of the schedules, the Statement of Financial Affairs,
                  and/or schedules and other information in support of the Plan prior to the Confirmation
                  Hearing.

         1.9.5.   The most recent operating report of the Debtor is available on PACER, the Google drive
                  link described above, and/or or by contacting the undersigned.

                  NO CLAIM SHOULD BE DEEMED TO BE ALLOWED IN ANY PARTICULAR
                  AMOUNT BASED UPON A DESCRIPTION OR REFERENCE TO ANY SUCH
                  CLAIM OR TO ANY CLASS OF CLAIMS IN THE EXHIBITS.

                  THE DEBTOR DOES NOT WAIVE ANY FACT, CLAIM, ISSUES, RIGHT,
                  REMEDY, AND/OR DEFENSE WITH RESPECT TO A DESCRIPTION OR
                  REFERENCE TO ANY CLAIM IN THE EXHIBITS.




 5
   The Debtor is amending the Schedules concurrently with the filing of this Plan to address the Marata Martinez note
 and deed of trust and the encumbrance of that asset by Southern Financial Group Mortgage LLC. See also Docket
 Nos. 221, 258.
 6
   The Debtor is consecutively numbering all exhibits throughout this case. The exhibits related to the plan and
 disclosure statement will begin with the number 301.

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 2. SUMMARY OF THE PLAN, TABLE 1 — KEY PLAN TERMS. The key terms of this Plan are
    set forth in TABLE 1 below.




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 3. CLASSIFICATION OF CLAIMS

        The classification of claims and interests and the impairment of claims and interests is set forth in
        TABLE 1 and /or the Exhibits attached to the Plan.

 4. TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS, U.S. TRUSTEES FEES, AND
    PRIORITY TAX CLAIMS

 4.1.       Unclassified Claims. Certain types of claims are automatically entitled to specific treatment under
            the Code. Under Code §1123(a)(1), administrative expense claims, and priority tax claims are not
            in classes. They are not considered impaired, and holders of such claims do not vote on the Plan.
            They may, however, object if, in their view, their treatment under the Plan does not comply with
            that required by the Code. As such, pursuant to Code §1129(a)(1), the Debtor has not placed such
            claims in any class.

 4.2.       Administrative Expenses. Administrative expenses are costs or expenses of administering the
            Debtor’s Chapter 11 case which are allowed under Code §507(a)(2). Administrative expenses also
            include the value of any goods sold to the Debtor in the ordinary course of business and received
            within 20 days before the date of the bankruptcy petition. The Code requires that all administrative
            expenses be paid on the Effective Date of the Plan, unless a particular claimant agrees to a different
            treatment.

            As of the filing of this Plan, the Debtor has received no notice of any administrative expense, other
            than attorneys’ fees and expenses of Weycer Kaplan Pulaski & Zuber P.C. (“WKPZ”) and Lee Law
            Firm, PLLC (“LLF”) incurred for Anson and the fees of the Subchapter V Trustee.

            As a condition of and prior to the Effective Date, Anson shall reserve sufficient funds to satisfy the
            anticipated final allowed administrative claim of each of WKPZ, LLF, and the Subchapter V
            Trustee, unless otherwise paid or otherwise agreed.

 4.3.       Priority Tax Claims. Priority tax claims are unsecured income, employment, and other taxes
            described by Code §507(a)(8). Unless the holder of such a §507(a)(8) priority tax claim agrees
            otherwise, it must receive the present value of such claim, in regular installments paid over a period
            not exceeding five (5) years from the order of relief.7

 5. TREATMENT OF CLAIMS AND INTERESTS. The following are the classes set forth in the
    Plan, and the proposed treatment that they will receive under the Plan:

 5.1.       Class 1 — Investor Notes.

            5.1.1.   Identity of Claims in Class: Class 1 consists of each of the holders of the various Investor
                     Notes owned by Anson. The Investor Notes are grouped together according by holder or
                     beneficiary of the collateral pledge and are identified in the table below.




 7
   Anson owes de minimis business personal property taxes of less than $150.00 for tax year 2021, which claims are
 addressed in the Plan support documents as priority claims rather than create a separate class for such a small amount.
 No statutory tax liens are altered by the Plan.

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        5.1.2.   Treatment: Each claim in this class, as identified above, shall be deemed to be an allowed
                 claim. The Investor Notes shall remain in full force and effect and payments shall continue
                 to flow through to the Investors. None of the Investor Notes instruments shall be altered
                 by this Plan and shall continue as written or as otherwise agreed between Anson and an
                 Investor. Anson will continue to oversee management and servicing of the Investor Notes.
                 Anson also will retain ownership of its interest in the Investor Notes, and the Note Income
                 will be the primary source of funding the Plan.

        5.1.3.   Voting. Class 1 is unimpaired (and if and when applicable, according the modifications
                 agreed to by Anson and an Investor) and deemed to accept the Plan.

 5.2.   Class 2 — Small Business Administration (“SBA”).

        5.2.1.   Identity of Claims in Class: Class 2 consists of the SBA facility referenced and described
                 in Proof of Claim No. 1.

        5.2.2.   Treatment: Anson shall resume payment of and/or continue to pay the SBA note according
                 to its terms.

        5.2.3.   Voting. Class 2 is unimpaired and deemed to accept the Plan.

 5.3.   Class 3 — General Unsecured Claims.

        5.3.1.   Identity of Claims in Class: Class 3 consists of the allowed claims of general unsecured
                 creditors whose claims are filed and/or scheduled and the current status of each is listed in
                 Exhibit ANS302.01.

        5.3.2.   Treatment: The Debtor shall pay the allowed general unsecured claims in Class 3 in full
                 and over a maximum period of sixty (60) months from the Effective Date of the Plan by
                 paying (i) the net disposable income of the Debtor pro rata to the holders of claims in this
                 Class, and (ii) if necessary, a lump sum balloon payment for the 60th payment for any
                 remaining balance due to any Class 3 creditor at the end of the 59th month. For the
                 avoidance of doubt, the Debtor will pay only those holders of Class 3 claims which are
                 allowed claims and, as of the filing of this Plan, the claims of Frazier are disputed and not
                 allowed.

                 The payments to the Class 3 allowed general unsecured claims shall be made on the 15th
                 day of each month commencing with the first full calendar month following the Effective
                 Date, and shall occur on the 15th day of each succeeding month throughout the 60-month
                 period.


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                 The Debtor projects the payments to the Class 3 unsecured creditors according to two
                 potential scenarios as demonstrated in Exhibit ANS302.01 and Exhibit ANS304.01, both
                 of which scenarios depict different potential treatment based prmarily upon the outcome of
                 the Frazier Adverary Proceeding.

                 Scenario 1 projects the impact of Proof of Claim No. 20 filed by Frazier being allowed
                 after adjudication of the Frazier Adverasry Proceeding in the mamximum amount of
                 $28,715 (which was the redemption interest as of the Petition Date of Frazier in the Alvord
                 287 Partnership, but subject to setoffs, defenses, and/or reductions in the view of the
                 Debtor).

                 Scenario 2 projects the impact of Proof of Claim No. 20 filed by Frazier being allowed
                 after adjudication of the Frazier Adverasry Proceeding in the mamximum amount of
                 $674,516 as filed.

                 In any event, the ultimate total amount of the allowed claims in Class 3 depends upon the
                 final adjudication of Proof of Claim No. 20 in the Frazier Adverary Proceeding which
                 contested matters adversary proceedings and/or contested matters with respect to Frazier
                 remain pending as of the filing of this Plan.

                 In additon, and following the final adjudication of the Frazier Adverasry Proceeding
                 (including the allowance and/or disallowance of Proof of Claim No. 20), the Debtor
                 believes that any allowed claim of Frazier is entitled to be paid from only the assests of the
                 Alvod 287 Partnership, and/or the assets of the Alvod 287 Partnership may be used to pay
                 any allowed claim of Frazier (thus reducing the funds which the Debtor must contibute to
                 Class 3).

        5.3.3.   Voting. Class 3 is IMPAIRED and may vote to accept or reject the Plan.

 5.4.   Class 4 — Class of Equity Interest Holders.

        As of the Petition Date, the following constitute the equity structure of Anson as set forth below.

                    Holder                         % Ownership
         J. Michael Ferguson                         95.37%
         Chandler Ferguson Trust                      1.42%
         Pat Ferguson                                 1.19%
         Jay Lesok                                    0.52%
         Leroy York                                   1.50%


        Each equity interest holder shall retain its interest following confirmation of the Plan.

        Class 4 is unimpaired and is deemed to accept the Plan.

 6.     ALLOWANCE AND DISALLOWANCE OF CLAIMS

 6.1.   Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a final non-
        appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed, and
        the Debtor or another party in interest has filed an objection or otherwise which is the subject of a
        pending contested matter, adversary proceeding and/or other contested matter; or (ii) no proof of

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          claim has been filed, and/or (iii) the Debtor has scheduled such claim as disputed, contingent, or
          unliquidated.

 6.2.     Without limiting future potential claim objections, the Debtor currently disputes certain claims
          identified in Section 5.3.1 above and/or Exhibit ANS302.01, including specifically and without
          limitation Proof of Claim No. 20 filed by Frazier.

 6.3.     Delay of Distribution on a Disputed Claim. No distribution will be made on account of a disputed
          claim unless such claim is allowed by a final non-appealable order.

 6.4.     Settlement of Disputed Claims. After the Effective Date, the Debtor will have the power and
          authority to settle and compromise a disputed claim without court approval and without compliance
          with Bankruptcy Rule 9019.

 7.       PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 7.1.     The Debtor ASSUMES the executory contracts and/or unexpired leases referenced and described
          in TABLE 1 upon the date of the entry of the order confirming this Plan.

 7.2.     Specifically the Debtor assumes the contract between the Debtor and AFI for the servicing of the
          Investor Notes.

 7.3.     Otherwise, the Debtor will assume any executory contract for which a motion to assume is granted
          or pending prior to the Effective Date.

 7.4.     The Debtor will be conclusively deemed to have REJECTED all executory contracts and/or
          unexpired leases not expressly assumed above, or before the Effective Date or as otherwise
          specified in TABLE 1.

 7.5.     PROOF OF CLAIM FOLLOWING REJECTION: A proof of a claim arising from the
          rejection of an executory contract or unexpired lease under this section must be filed no later
          than fourteen (14) days after the date of the order confirming this Plan. Any such claim will
          be treated, if allowed general unsecured claim and the general unsecured creditor class will be
          adjusted accordingly.

 8.     MEANS OF IMPLEMENTING THE PLAN.

 8.1.     Source of Payments. Payments and distributions under the Plan will be funded by the income
          from the normal operations of the Debtor, and consisting primarily of the Note Income.

 8.2.     Distribution of Payments. The reorganized Anson shall be the disbursing agent for payments
          under the Plan, or in the event of a confirmation under Code §1191(b), then the Subchapter V
          Trustee shall act as the disbursing agent, unless the Court orders otherwise.

 8.3.     Post-confirmation Management. The post-confirmation management of the Debtor, and the
          compensation for each such person is set forth in the in TABLE 1.

 8.4.     Risk Factors. The proposed Plan has the following risks: A sufficient number of the underlying
          obligors of the Investor Notes default in their obligations and/or pay off the Investor Notes early
          thus reducing the Note Income to Anson to a point that Anson does not possess sufficient resources
          to fund the payments required under the Plan.


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 9. GENERAL PROVISIONS

 9.1.    Definitions and Rules of Construction. The definitions and rules of construction set forth in Code
         §§101 and 102 shall apply when terms defined or construed in the Code. Other terms are defined
         throughout the Plan, and terms may be defined in the and then used in the Plan and vice versa. Any
         reference to the Debtor that applies to any period of time after the Effective Date shall refer to the
         Debtor as the Reorganized Debtor. In addition, the following terms used in the Plan are defined
         below.

         9.1.1.   “Confirmation Hearing” shall mean and refer to the hearing conducted by the Court to
                  consider this Plan.

         9.1.2.   “Confirmation Order” shall mean and refer to the order confirming this Plan.

 9.2.    Severability. If any provision in this Plan is determined to be unenforceable, the determination
         will in no way limit or affect the enforceability and operative effect of any other provision of this
         Plan.

 9.3.    Captions. The headings contained in this Plan are for convenience of reference only and do not
         affect the meaning or interpretation of this Plan.

 9.4.    Primacy of the Plan and Confirmation Order. To the extent of any conflict or inconsistency
         between the provisions of the Plan on the one hand, and the Confirmation Order on the other hand,
         the provisions of the Confirmation Order shall govern and control. Unless directed by the Court
         to so earlier, the Debtor will file notice of a proposed Confirmation Order seven (7) days prior to
         the Confirmation Hearing.

 9.5.    Binding Effect. The rights and obligations of any entity named or referred to in this Plan will be
         binding upon, and will inure to the benefit of the successors or assigns of such entity.

 9.6.    Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the
         Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Texas govern this
         Plan and any agreements, documents, and instruments executed in connection with this Plan, except
         as otherwise provided in this Plan.

 9.7.    Corporate Governance. After the Effective Date of the order confirming the Plan, the
         management of the Debtor will consist of the following: J. Michael Ferguson, President and
         Director, who will receive no salary.

 9.8.    Corporate Authority. All actions and transactions contemplated under the Plan shall be
         authorized upon confirmation of the Plan without the need of further approval, notice or meetings,
         that might otherwise be required under applicable state law or otherwise, other than the notice
         provided by serving this Plan on all known creditors of Anson, all interest holders, and all current
         directors or managers of Anson.

 9.9.    Fixing of Claims. To the extent that the modification and/or fixing of any claim occurs under the
         Plan, the Plan also constitutes an objection to any filed proof of claim and/or scheduled claim under
         Code §502 and/or Bankruptcy Rules 3007 and 9014, and any applicable Local Rules.

 9.10.   Settlement of Claims and Disputes. The Plan also constitutes a motion under Bankruptcy Rule
         9019 to the extent necessary to confirm the Plan.


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 9.11.   Debtor name change. The Debtor may change its name and/or adopt one or more business aliases
         after the Effective Date.

 10. EFFECT OF CONFIRMATION OF PLAN — DISCHARGE

 On the effective date of the Plan, the Debtor shall be discharged from any debt that arose before
 confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in Code
 §1141(d)(1)(A) except that the Debtor shall not be discharged of any debt (i) imposed by the Plan, (ii) of a
 kind specified in Code §1141(d)(6)(A) if a timely complaint was filed in accordance with Bankruptcy Rule
 4007(c), or (iii) of a kind specified in Code §1141(d)(6)(B). After the effective date of the Plan your claims
 against the Debtor will be limited to the debts described in clauses (i) through (iii) of the preceding sentence.

 11. EFFECTIVE DATE OF PLAN.

 The effective date of the Plan (the “Effective Date”) shall be the first business day following the date that
 is fourteen (14) days after the entry of the order of confirmation. If, however, a stay of the Confirmation
 Order is in effect on that date, the Effective Date will be the first business day after the date on which the
 stay of the Confirmation Order expires or is otherwise terminated. The Effective Date may occur without
 further notice by the Debtor.

 12. FINAL DECREE

 Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of Bankruptcy
 Procedure, the Debtor, or such other party as the Court shall designate in the Confirmation Order, shall file
 a motion with the Court to obtain a final decree to close the case. Alternatively, the Court may enter such
 a final decree on its own motion.

 13. OTHER PLAN PROVISIONS

 13.1.   Scope and Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to: (i) hear
         and determine pending applications for the assumption or rejection of contracts or leases and the
         allowance of Claims resulting therefrom; (ii) hear and determine any and all adversary proceedings,
         applications, and contested matters, including any remands of appeals, and including any Estate
         Actions; provided, however, that the Reorganized Debtor shall not be required to seek or obtain
         approval of the Bankruptcy Court under Bankruptcy Rule 9019 or otherwise as to the settlement or
         compromise of any Estate Actions post-Effective Date; (iii) ensure that distributions to holders of
         Allowed Claims are accomplished as provided herein; (iv) hear and determine any timely objections
         to or applications concerning Claims or the allowance, classification, priority, estimation, or
         payment of any Claim or Interest, and to enter Estimation Orders; (v) hear and determine all Fee
         Applications and Fee Claims; provided, however, that the Reorganized Debtor shall not be required
         to seek or obtain approval of the Bankruptcy Court under section Code §330 or otherwise as to the
         allowance or payment of professional fees post-Effective Date; (vi) enter and implement such
         orders as may be appropriate in the event the Confirmation Order is for any reason stayed, revoked,
         modified, reversed, or vacated; (vii) hear and determine disputes arising in connection with the
         execution, interpretation, implementation, consummation, or enforcement of the Plan; (viii) enter
         and implement such orders as may be necessary or appropriate to execute, interpret, implement,
         consummate, or enforce the Plan and the transactions contemplated thereunder; (ix) consider any
         modification of the Plan pursuant to Code § 1127, to cure any defect or omission or to reconcile
         any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
         Confirmation Order; (x) enter and implement orders or take such other actions as may be necessary
         or appropriate to restrain interference by any entity with the consummation or implementation of


 SECOND AMENDED SUBCHAPTER V PLAN OF REORGANIZATION OF
 ANSON FINANCIAL INC. DATED March 15, 2022 — Page 13                                                2107588.DOCX[1]
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           the Plan, including, without limitation, to issue, administer and enforce injunctions provided for in
           the Plan and the Confirmation Order; (xi) recover all assets of the Debtor and property of the estate,
           wherever located; (xii) hear and determine matters concerning state, local, and federal taxes in
           accordance with Code §§ 346, 505, and 1146; and (xiii) hear and determine any other matter not
           inconsistent with the Code and title 28 of the United States Code that may arise in connection with
           or related to the Plan; and enter a final decree closing the Bankruptcy Case. For the avoidance of
           doubt, the Bankruptcy Court shall retain jurisdiction over and complete the adjudication of the
           Frazier Adversary Proceeding (including the objection to Proof of Claim No. 20 which is
           consolidated therewith).

 13.2.     Litigation and retained causes of action. Anson expressly retains for the benefit of the estate and
           the reorganized debtor after the Effective Date the claims and causes of action referenced and
           described in Exhibit ANS305.01.

           Otherwise, Anson may provide notice of additional claims and/or causes of action by a
           supplement to the Plan to be filed within seven (7) days of the Confirmation Hearing.



                                                          ANSON FINANCIAL INC., DEBTOR
                                                          AND DEBTOR-IN-POSSESSION

                                                          By:

                                                          /s/ J. Michael Ferguson
                                                          By: J. Michael Ferguson, President


 Counsel to the Debtor and
 Debtor in Possession:

 WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
 Jeff Carruth (SBT #24001846)
 3030 Matlock Rd., Suite 201
 Arlington, TX 76015
 (713) 341-1158
 (866) 666-5322 (fax)
 E-mail: jcarruth@wkpz.com

 - and -

 Christopher M. Lee
 State Bar No. 24041319
 LEE LAW FIRM, PLLC
 8701 Bedford Euless Rd, Ste 510
 Hurst, TX 76053
 469-646-8995 Phone
 469-694-1059 Fax



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                             EXHIBIT ANS304.01

                                PROJECTIONS
  THE PROJECTED FINANCIAL INFORMATION AND OTHER FORWARD LOOKING
  STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE BASED ON
  VARIOUS ASSUMPTIONS AND ESTIMATES AND WILL NOT BE UPDATED TO REFLECT
  EVENTS OCCURRING AFTER THE DATE HEREOF. SUCH INFORMATION AND
  STATEMENTS ARE SUBJECT TO INHERENT UNCERTAINTIES AND TO A WIDE
  VARIETY OF SIGNIFICANT BUSINESS, ECONOMIC, AND COMPETITIVE RISKS
  INCLUDING, AMONG OTHERS, THOSE DESCRIBED HEREIN. CONSEQUENTLY,
  ACTUAL EVENTS, CIRCUMSTANCES, EFFECTS AND RESULTS MAY VARY
  SIGNIFICANTLY FROM THOSE INCLUDED IN OR CONTEMPLATED BY SUCH
  PROJECTED FINANCIAL INFORMATION AND SUCH OTHER FORWARD-LOOKING
  STATEMENTS.

  NO CLAIM SHOULD BE DEEMED TO BE ALLOWED IN ANY PARTICULAR AMOUNT
  BASED UPON A DESCRIPTION OR REFERENCE TO ANY SUCH CLAIM OR TO ANY
  CLASS IN THE PROJECTIONS.




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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 1
                                                                                       Anson Financial, Inc. Projections

                     Year                          2022                                                                                                                    2023
 Month                                                    4            5           6               7             8             9           10           11           12            1            2            3
 Cash Carry Forward                               38,740.00    48,192.00   37,644.00       39,596.00     41,548.00     43,500.00    45,452.00    49,904.00    54,356.00    63,808.00    73,260.00    82,712.00
 Income
    Notes Receivable Pmts                         55,000.00    55,000.00   55,000.00       55,000.00     55,000.00     55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                      93,740.00   103,192.00   92,644.00       94,596.00     96,548.00     98,500.00   100,452.00   104,904.00   109,356.00   118,808.00   128,260.00   137,712.00

 Operating Expenses
    Management Fees                                3,430.00     3,430.00    3,430.00        3,430.00      3,430.00      3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                             55.00        55.00       55.00           55.00         55.00         55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                               50.00        50.00       50.00           50.00         50.00         50.00        50.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                    10.00        10.00       10.00           10.00         10.00         10.00        10.00        10.00        10.00        10.00        10.00        10.00
 Plan                                                   ‐            ‐           ‐               ‐             ‐             ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Admin (WKPZ + SubV Trustee)                                   20,000.00    7,500.00        7,500.00      7,500.00      7,500.00     5,000.00     5,000.00
 Class 1 Investor Notes                           39,136.00    39,136.00   39,136.00       39,136.00     39,136.00     39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 Class 2 SBA                                         635.00       635.00      635.00          635.00        635.00        635.00       635.00       635.00       635.00       635.00       635.00       635.00
 Class 3 General unsecured                         2,232.00     2,232.00    2,232.00        2,232.00      2,232.00      2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00
 Total Operating Expenses + Plan                  45,548.00    65,548.00   53,048.00       53,048.00     53,048.00     53,048.00    50,548.00    50,548.00    45,548.00    45,548.00    45,548.00    45,548.00

                                                  48,192.00    37,644.00   39,596.00       41,548.00     43,500.00     45,452.00    49,904.00    54,356.00    63,808.00    73,260.00    82,712.00    92,164.00




Anson plan exhibits 004 ‐ scenario 1                                                                     Page 1 of 5                                                                          3/9/2022 10:17 PM
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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 1
                                                                                         Anson Financial, Inc. Projections

                    Year                            2023                                                                                                             2024
 Month                                                     4            5            6                7               8               9           10           11           12            1            2            3
 Cash Carry Forward                                92,164.00   101,616.00   111,068.00       120,520.00      129,972.00      139,424.00   148,876.00   158,328.00   167,780.00   177,232.00   186,684.00   196,136.00
 Income
    Notes Receivable Pmts                          55,000.00    55,000.00    55,000.00        55,000.00       55,000.00       55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                      147,164.00   156,616.00   166,068.00       175,520.00      184,972.00      194,424.00   203,876.00   213,328.00   222,780.00   232,232.00   241,684.00   251,136.00

 Operating Expenses
    Management Fees                                 3,430.00     3,430.00     3,430.00         3,430.00        3,430.00        3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                              55.00        55.00        55.00            55.00           55.00           55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                                50.00        50.00        50.00            50.00           50.00           50.00        50.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                     10.00        10.00        10.00            10.00           10.00           10.00        10.00        10.00        10.00        10.00        10.00        10.00
 Plan                                                    ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Admin (WKPZ + SubV Trustee)                             ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Class 1 Investor Notes                            39,136.00    39,136.00    39,136.00        39,136.00       39,136.00       39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 Class 2 SBA                                          635.00       635.00       635.00           635.00          635.00          635.00       635.00       635.00       635.00       635.00       635.00       635.00
 Class 3 General unsecured                          2,232.00     2,232.00     2,232.00         2,232.00        2,232.00        2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00
 Total Operating Expenses + Plan                   45,548.00    45,548.00    45,548.00        45,548.00       45,548.00       45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00

 Net Cash                                         101,616.00   111,068.00   120,520.00       129,972.00      139,424.00      148,876.00   158,328.00   167,780.00   177,232.00   186,684.00   196,136.00   205,588.00




Anson plan exhibits 004 ‐ scenario 1                                                                        Page 2 of 5                                                                               3/9/2022 10:17 PM
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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 1
                                                                                         Anson Financial, Inc. Projections

                    Year                            2024                                                                                                             2025
 Month                                                     4            5            6                7               8               9           10           11           12            1            2            3
 Cash Carry Forward                               205,588.00   215,040.00   224,492.00       233,944.00      243,396.00      252,848.00   262,300.00   271,752.00   281,204.00   290,656.00   300,108.00   309,560.00
 Income
    Notes Receivable Pmts                          55,000.00    55,000.00    55,000.00        55,000.00       55,000.00       55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                      260,588.00   270,040.00   279,492.00       288,944.00      298,396.00      307,848.00   317,300.00   326,752.00   336,204.00   345,656.00   355,108.00   364,560.00

 Operating Expenses
    Management Fees                                 3,430.00     3,430.00     3,430.00         3,430.00        3,430.00        3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                              55.00        55.00        55.00            55.00           55.00           55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                                50.00        50.00        50.00            50.00           50.00           50.00        50.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                     10.00        10.00        10.00            10.00           10.00           10.00        10.00        10.00        10.00        10.00        10.00        10.00
 Plan                                                    ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Admin (WKPZ + SubV Trustee)                             ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Class 1 Investor Notes                            39,136.00    39,136.00    39,136.00        39,136.00       39,136.00       39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 Class 2 SBA                                          635.00       635.00       635.00           635.00          635.00          635.00       635.00       635.00       635.00       635.00       635.00       635.00
 Class 3 General unsecured                          2,232.00     2,232.00     2,232.00         2,232.00        2,232.00        2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00
 Total Operating Expenses + Plan                   45,548.00    45,548.00    45,548.00        45,548.00       45,548.00       45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00

 Net Cash                                         215,040.00   224,492.00   233,944.00       243,396.00      252,848.00      262,300.00   271,752.00   281,204.00   290,656.00   300,108.00   309,560.00   319,012.00




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                                                                                         Anson Financial, Inc. Projections

                    Year                            2025                                                                                                             2026
 Month                                                     4            5            6                7               8               9           10           11           12            1            2            3
 Cash Carry Forward                               319,012.00   328,464.00   337,916.00       347,368.00      356,820.00      366,272.00   375,724.00   385,176.00   394,628.00   404,080.00   413,532.00   422,984.00
 Income
    Notes Receivable Pmts                          55,000.00    55,000.00    55,000.00        55,000.00       55,000.00       55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                      374,012.00   383,464.00   392,916.00       402,368.00      411,820.00      421,272.00   430,724.00   440,176.00   449,628.00   459,080.00   468,532.00   477,984.00

 Operating Expenses
    Management Fees                                 3,430.00     3,430.00     3,430.00         3,430.00        3,430.00        3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                              55.00        55.00        55.00            55.00           55.00           55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                                50.00        50.00        50.00            50.00           50.00           50.00        50.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                     10.00        10.00        10.00            10.00           10.00           10.00        10.00        10.00        10.00        10.00        10.00        10.00
 Plan                                                    ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Admin (WKPZ + SubV Trustee)                             ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Class 1 Investor Notes                            39,136.00    39,136.00    39,136.00        39,136.00       39,136.00       39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 Class 2 SBA                                          635.00       635.00       635.00           635.00          635.00          635.00       635.00       635.00       635.00       635.00       635.00       635.00
 Class 3 General unsecured                          2,232.00     2,232.00     2,232.00         2,232.00        2,232.00        2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00
 Total Operating Expenses + Plan                   45,548.00    45,548.00    45,548.00        45,548.00       45,548.00       45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00

 Net Cash                                         328,464.00   337,916.00   347,368.00       356,820.00      366,272.00      375,724.00   385,176.00   394,628.00   404,080.00   413,532.00   422,984.00   432,436.00




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                                                                                         Anson Financial, Inc. Projections

                    Year                            2025                                                                                                             2026
 Month                                                     4            5            6                7               8               9           10           11           12            1            2            3
 Cash Carry Forward                               432,436.00   441,888.00   451,340.00       460,792.00      470,244.00      479,696.00   489,148.00   498,600.00   508,052.00   517,504.00   526,956.00   536,408.00
 Income
    Notes Receivable Pmts                          55,000.00    55,000.00    55,000.00        55,000.00       55,000.00       55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                      487,436.00   496,888.00   506,340.00       515,792.00      525,244.00      534,696.00   544,148.00   553,600.00   563,052.00   572,504.00   581,956.00   591,408.00

 Operating Expenses
    Management Fees                                 3,430.00     3,430.00     3,430.00         3,430.00        3,430.00        3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                              55.00        55.00        55.00            55.00           55.00           55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                                50.00        50.00        50.00            50.00           50.00           50.00        50.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                     10.00        10.00        10.00            10.00           10.00           10.00        10.00        10.00        10.00        10.00        10.00        10.00
 Plan                                                    ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Admin (WKPZ + SubV Trustee)                             ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Class 1 Investor Notes                            39,136.00    39,136.00    39,136.00        39,136.00       39,136.00       39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 Class 2 SBA                                          635.00       635.00       635.00           635.00          635.00          635.00       635.00       635.00       635.00       635.00       635.00       635.00
 Class 3 General unsecured                          2,232.00     2,232.00     2,232.00         2,232.00        2,232.00        2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00     2,232.00
 Total Operating Expenses + Plan                   45,548.00    45,548.00    45,548.00        45,548.00       45,548.00       45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00    45,548.00

 Net Cash                                         441,888.00   451,340.00   460,792.00       470,244.00      479,696.00      489,148.00   498,600.00   508,052.00   517,504.00   526,956.00   536,408.00   545,860.00




Anson plan exhibits 004 ‐ scenario 1                                                                        Page 5 of 5                                                                               3/9/2022 10:17 PM
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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 2
                                                                                 Anson Financial, Inc. Projections

                     Year                          2022                                                                                                              2023
 Month                                                    4           5           6            7             8               9          10          11          12           1           2            3
 Cash Carry Forward                               38,740.00   40,424.00   32,108.00    26,292.00     20,476.00       15,160.00   11,844.00    8,528.00    5,212.00    1,896.00    2,580.00     3,264.00
 Income
    Notes Receivable Pmts                         55,000.00   55,000.00   55,000.00    55,000.00     55,000.00       55,000.00   55,000.00   55,000.00   55,000.00   55,000.00   55,000.00    55,000.00
 Gross Income + Cash Forward                      93,740.00   95,424.00   87,108.00    81,292.00     75,476.00       70,160.00   66,844.00   63,528.00   60,212.00   56,896.00   57,580.00    58,264.00

 Operating Expenses
    Management Fees                                3,430.00    3,430.00    3,430.00     3,430.00      3,430.00        3,430.00    3,430.00    3,430.00    3,430.00    3,430.00    3,430.00     3,430.00
    CPA Annual Tax Return                             55.00       55.00       55.00        55.00         55.00           55.00       55.00       55.00       55.00       55.00       55.00        55.00
    Liability Insurance                               50.00       50.00       50.00        50.00         50.00           50.00       50.00       50.00       50.00       50.00       50.00        50.00
    Property Taxes                                    10.00       10.00       10.00        10.00         10.00           10.00       10.00       10.00       10.00       10.00       10.00        10.00
 Plan                                                   ‐           ‐           ‐            ‐             ‐               ‐           ‐           ‐           ‐           ‐           ‐            ‐
 Admin (WKPZ + SubVT)                                         10,000.00    7,500.00     7,500.00      7,000.00        5,000.00    5,000.00    5,000.00    5,000.00    1,000.00    1,000.00     1,000.00
 Class 1 Investor Notes                           39,136.00   39,136.00   39,136.00    39,136.00     39,136.00       39,136.00   39,136.00   39,136.00   39,136.00   39,136.00   39,136.00    39,136.00
 Class 2 SBA                                         635.00      635.00      635.00       635.00        635.00          635.00      635.00      635.00      635.00      635.00      635.00       635.00
 Class 3 General unsecured                        10,000.00   10,000.00   10,000.00    10,000.00     10,000.00       10,000.00   10,000.00   10,000.00   10,000.00   10,000.00   10,000.00    10,000.00
 Total Operating Expenses + Plan                  53,316.00   63,316.00   60,816.00    60,816.00     60,316.00       58,316.00   58,316.00   58,316.00   58,316.00   54,316.00   54,316.00    54,316.00

 Net Cash                                         40,424.00   32,108.00   26,292.00    20,476.00     15,160.00       11,844.00    8,528.00    5,212.00    1,896.00    2,580.00    3,264.00     3,948.00




Anson plan exhibits 004 ‐ scenario 2                                                               Page 1 of 5                                                                         3/9/2022 10:24 PM
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DRAFT ‐ NO ADDMISSION OF LIABILITY ‐ SUBJECT TO REVISION
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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 2
                                                                                        Anson Financial, Inc. Projections

                    Year                            2023                                                                                                        2024
 Month                                                      4           5           6                7               8              9          10          11          12           1           2            3
 Cash Carry Forward                                  3,948.00    4,632.00    5,316.00         6,000.00        6,684.00       7,368.00    9,052.00   10,736.00   12,420.00   14,104.00   15,788.00    17,472.00
 Income
    Notes Receivable Pmts                          55,000.00    55,000.00   55,000.00        55,000.00       55,000.00      55,000.00   55,000.00   55,000.00   55,000.00   55,000.00   55,000.00    55,000.00
 Gross Income + Cash Forward                       58,948.00    59,632.00   60,316.00        61,000.00       61,684.00      62,368.00   64,052.00   65,736.00   67,420.00   69,104.00   70,788.00    72,472.00

 Operating Expenses
    Management Fees                                 3,430.00     3,430.00    3,430.00         3,430.00        3,430.00       3,430.00    3,430.00    3,430.00    3,430.00    3,430.00    3,430.00     3,430.00
    CPA Annual Tax Return                              55.00        55.00       55.00            55.00           55.00          55.00       55.00       55.00       55.00       55.00       55.00        55.00
    Liability Insurance                                50.00        50.00       50.00            50.00           50.00          50.00       50.00       50.00       50.00       50.00       50.00        50.00
    Property Taxes                                     10.00        10.00       10.00            10.00           10.00          10.00       10.00       10.00       10.00       10.00       10.00        10.00
 Plan                                                    ‐            ‐           ‐                ‐               ‐              ‐           ‐           ‐           ‐           ‐           ‐            ‐
 Admin (WKPZ + SubVT)                               1,000.00     1,000.00    1,000.00         1,000.00        1,000.00            ‐           ‐           ‐           ‐           ‐           ‐            ‐
 Class 1 Investor Notes                            39,136.00    39,136.00   39,136.00        39,136.00       39,136.00      39,136.00   39,136.00   39,136.00   39,136.00   39,136.00   39,136.00    39,136.00
 Class 2 SBA                                          635.00       635.00      635.00           635.00          635.00         635.00      635.00      635.00      635.00      635.00      635.00       635.00
 Class 3 General unsecured                         10,000.00    10,000.00   10,000.00        10,000.00       10,000.00      10,000.00   10,000.00   10,000.00   10,000.00   10,000.00   10,000.00    10,000.00
 Total Operating Expenses + Plan                   54,316.00    54,316.00   54,316.00        54,316.00       54,316.00      53,316.00   53,316.00   53,316.00   53,316.00   53,316.00   53,316.00    53,316.00

 Net Cash                                            4,632.00    5,316.00    6,000.00         6,684.00        7,368.00       9,052.00   10,736.00   12,420.00   14,104.00   15,788.00   17,472.00    19,156.00




Anson plan exhibits 004 ‐ scenario 2                                                                       Page 2 of 5                                                                         3/9/2022 10:24 PM
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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 2
                                                                                       Anson Financial, Inc. Projections

                    Year                            2024                                                                                                       2025
 Month                                                     4           5           6                7               8              9          10          11          12           1           2            3
 Cash Carry Forward                                19,156.00   20,840.00   22,524.00        24,208.00       25,892.00      27,576.00   29,260.00   30,944.00   32,628.00   34,312.00   35,996.00    37,680.00
 Income
    Notes Receivable Pmts                          55,000.00   55,000.00   55,000.00        55,000.00       55,000.00      55,000.00   55,000.00   55,000.00   55,000.00   55,000.00   55,000.00    55,000.00
 Gross Income + Cash Forward                       74,156.00   75,840.00   77,524.00        79,208.00       80,892.00      82,576.00   84,260.00   85,944.00   87,628.00   89,312.00   90,996.00    92,680.00

 Operating Expenses
    Management Fees                                 3,430.00    3,430.00    3,430.00         3,430.00        3,430.00       3,430.00    3,430.00    3,430.00    3,430.00    3,430.00    3,430.00     3,430.00
    CPA Annual Tax Return                              55.00       55.00       55.00            55.00           55.00          55.00       55.00       55.00       55.00       55.00       55.00        55.00
    Liability Insurance                                50.00       50.00       50.00            50.00           50.00          50.00       50.00       50.00       50.00       50.00       50.00        50.00
    Property Taxes                                     10.00       10.00       10.00            10.00           10.00          10.00       10.00       10.00       10.00       10.00       10.00        10.00
 Plan                                                    ‐           ‐           ‐                ‐               ‐              ‐           ‐           ‐           ‐           ‐           ‐            ‐
 Admin (WKPZ + SubVT)                                    ‐           ‐           ‐                ‐               ‐              ‐           ‐           ‐           ‐           ‐           ‐            ‐
 Class 1 Investor Notes                            39,136.00   39,136.00   39,136.00        39,136.00       39,136.00      39,136.00   39,136.00   39,136.00   39,136.00   39,136.00   39,136.00    39,136.00
 Class 2 SBA                                          635.00      635.00      635.00           635.00          635.00         635.00      635.00      635.00      635.00      635.00      635.00       635.00
 Class 3 General unsecured                         10,000.00   10,000.00   10,000.00        10,000.00       10,000.00      10,000.00   10,000.00   10,000.00   10,000.00   10,000.00   10,000.00    10,000.00
 Total Operating Expenses + Plan                   53,316.00   53,316.00   53,316.00        53,316.00       53,316.00      53,316.00   53,316.00   53,316.00   53,316.00   53,316.00   53,316.00    53,316.00

 Net Cash                                          20,840.00   22,524.00   24,208.00        25,892.00       27,576.00      29,260.00   30,944.00   32,628.00   34,312.00   35,996.00   37,680.00    39,364.00




Anson plan exhibits 004 ‐ scenario 2                                                                      Page 3 of 5                                                                         3/9/2022 10:24 PM
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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 2
                                                                                       Anson Financial, Inc. Projections

                    Year                            2025                                                                                                           2026
 Month                                                     4           5           6                7               8               9           10           11           12            1            2            3
 Cash Carry Forward                                39,364.00   41,048.00   42,732.00        44,416.00       46,100.00       47,784.00    49,468.00    51,152.00    52,836.00    54,520.00    56,204.00    57,888.00
 Income
    Notes Receivable Pmts                          55,000.00   55,000.00   55,000.00        55,000.00       55,000.00       55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                       94,364.00   96,048.00   97,732.00        99,416.00      101,100.00      102,784.00   104,468.00   106,152.00   107,836.00   109,520.00   111,204.00   112,888.00

 Operating Expenses
    Management Fees                                 3,430.00    3,430.00    3,430.00         3,430.00        3,430.00        3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                              55.00       55.00       55.00            55.00           55.00           55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                                50.00       50.00       50.00            50.00           50.00           50.00        50.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                     10.00       10.00       10.00            10.00           10.00           10.00        10.00        10.00        10.00        10.00        10.00        10.00
 Plan                                                    ‐           ‐           ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Admin (WKPZ + SubVT)                                    ‐           ‐           ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Class 1 Investor Notes                            39,136.00   39,136.00   39,136.00        39,136.00       39,136.00       39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 Class 2 SBA                                          635.00      635.00      635.00           635.00          635.00          635.00       635.00       635.00       635.00       635.00       635.00       635.00
 Class 3 General unsecured                         10,000.00   10,000.00   10,000.00        10,000.00       10,000.00       10,000.00    10,000.00    10,000.00    10,000.00    10,000.00    10,000.00    10,000.00
 Total Operating Expenses + Plan                   53,316.00   53,316.00   53,316.00        53,316.00       53,316.00       53,316.00    53,316.00    53,316.00    53,316.00    53,316.00    53,316.00    53,316.00

 Net Cash                                          41,048.00   42,732.00   44,416.00        46,100.00       47,784.00       49,468.00    51,152.00    52,836.00    54,520.00    56,204.00    57,888.00    59,572.00




Anson plan exhibits 004 ‐ scenario 2                                                                      Page 4 of 5                                                                               3/9/2022 10:24 PM
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 EXHIBIT ANS304.01 ‐‐ PROJECTIONS ‐ SCENARIO 2
                                                                                         Anson Financial, Inc. Projections

                    Year                            2025                                                                                                             2026
 Month                                                     4            5            6                7               8               9           10           11           12            1            2            3
 Cash Carry Forward                                59,572.00    61,256.00    62,940.00        64,624.00       66,308.00       67,992.00    69,676.00    71,360.00    73,044.00    74,728.00    76,412.00    78,096.00
 Income
    Notes Receivable Pmts                          55,000.00    55,000.00    55,000.00        55,000.00       55,000.00       55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                      114,572.00   116,256.00   117,940.00       119,624.00      121,308.00      122,992.00   124,676.00   126,360.00   128,044.00   129,728.00   131,412.00   133,096.00

 Operating Expenses
    Management Fees                                 3,430.00     3,430.00     3,430.00         3,430.00        3,430.00        3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                              55.00        55.00        55.00            55.00           55.00           55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                                50.00        50.00        50.00            50.00           50.00           50.00        50.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                     10.00        10.00        10.00            10.00           10.00           10.00        10.00        10.00        10.00        10.00        10.00        10.00
 Plan                                                    ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Admin (WKPZ + SubVT)                                    ‐            ‐            ‐                ‐               ‐               ‐            ‐            ‐            ‐            ‐            ‐            ‐
 Class 1 Investor Notes                            39,136.00    39,136.00    39,136.00        39,136.00       39,136.00       39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 Class 2 SBA                                          635.00       635.00       635.00           635.00          635.00          635.00       635.00       635.00       635.00       635.00       635.00       635.00
 Class 3 General unsecured                         10,000.00    10,000.00    10,000.00        10,000.00       10,000.00       10,000.00    10,000.00    10,000.00    10,000.00    10,000.00    10,000.00    10,000.00
 Total Operating Expenses + Plan                   53,316.00    53,316.00    53,316.00        53,316.00       53,316.00       53,316.00    53,316.00    53,316.00    53,316.00    53,316.00    53,316.00    53,316.00

 Net Cash                                          61,256.00    62,940.00    64,624.00        66,308.00       67,992.00       69,676.00    71,360.00    73,044.00    74,728.00    76,412.00    78,096.00    79,780.00




Anson plan exhibits 004 ‐ scenario 2                                                                        Page 5 of 5                                                                               3/9/2022 10:24 PM
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                                   EXHIBIT ANS305.01

                                RETAINED CAUSES OF ACTION

 Any and claim facts, claims, issues, rights, remedies, and/or defenses with respect to each of the
 Investor Notes and the obligations underling each of the Investors Notes.

 Any and claim facts, claims, issues, rights, remedies, and/or defenses with respect to any lawsuit,
 civil action, contested matter, adversary proceeding, and/or any other proceeding pending as of the
 Petition Date, initiated after the Petition Date, and/or otherwise pending prior to or as of the
 Effective Date of the Plan with any other party and/or relating to any of the Investor Notes and/or
 the obligations underling each of the Investors Notes, and further including any facts, claims,
 issues, rights, remedies, and/or defenses in any of the actions pending as of the Petition Date that
 are referenced and described in the Schedules, Statement of Financial Affairs, this Plan, and/or
 any supplement to this Plan.

 Any facts, claims, issues, rights, remedies, and/or defenses related to any claim or cause of action
 under Chapter 5 of the Bankruptcy Code, 11 U.S.C. § 101 et seq. and identified, referenced, and/or
 described in the Schedules, Statement of Financial Affairs, this Plan, and/or any supplement to this
 Plan.

 Any and all facts, claims, issues, rights, remedies, and/or defenses of the Debtor asserted or which
 may be asserted in any pending lawsuit, civil action, contested matter, and/or adversary proceeding
 and/or any other proceedings referenced and described in the Plan and/or otherwise pending prior
 to or as of the Effective Date of the Plan.

 Any facts, claims, issues, rights, remedies, and/or defenses of the Debtor referenced and/or
 described in Plan §1.8.3.




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Lrlington, Texas 76015
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                                                      Jeffery D. Carnith
                                                      Weycer, Kaplan, Pulaski £ Zuber, P.O.
                                                      3030 Matlock Rd., Suite 201
                                                      Arlington, TX 76015-2936
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                TRANSMITTAL                       MEMORANDUM



 FROM:            Weycer, Kaplan,Pulaski & Zuber,P.C.(Jeff Garruth,jcaruth@wkpz.com)
 RE:              Case No. 21-41517; In re: Anson Financial, Inc.; in the United States
                  Bankruptcy Court for the Northern District of Texas, Fort Worth Division.
                  CHAPTER 11 PLAN SOLICITATION PACKAGE

 DATE:            March 16, 2022


 Enclosed please find copies of the following items in connection with the solicitation of the
 proposed Chapter 11 plan of Anson Financial Inc.

   Item No.     Docket No.                                Description
       1            n/a       Ballot
       2           262        Second Amended Subchapter VPlan ofReorganization ofAnson
                              Financial Inc. Dated March 15, 2022
       3           263        Notice (I) ofHearing to Consider Confirmation ofSecond Amended
                              Subchapter VPlan ofReorganization ofAnson Financial, Inc.
                              dated March 15, 2022 and (II) Related Deadlines.


 PLEASE TAKE NOTE OF THE DATES AND DEADLINES IN THE NOTICE OF
 HEARING,ITEM NO.3

 Please contact the undersigned if you have any questions.

 Jeff Camith
 WEYCER,KAPLAN,PULASKI & ZUBER,P.C.
 3030 Matlock Rd. Suite 201
 Arlington, Texas 76105
 Telephone:(713)341-1158
 Fax:(866)666-5322
 jcarruth@wkpz.com
 ATTORNEYS FOR
 ANSON FINANCIAL INC.
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                                        ctaTFS B^lNKRUPTCY court
                       IN THE            tHERN district OF TEXAS
                         for the nor^                 division
                                                 §
   IN RE:                                        §               case no.21-41517
                                                 §
    anson financial,inc.,                        §
                                                  §
            DEBTOR:
            debtor.                                                               Y plan


          march 15,

   TO ALL CREDITORS:                          Amended Subchapter

     set forth below. In order to have your
     be returned to:



                    3030 Matlock Rd., Suite 20
                    Arlington,TX 76015
                       713-341-1158,fax(866)666-5322
                       jcarruth@wkpz.com
              ,                                ~ m. C„.r.i latigi(11.. -mLSiaSm-).^
      date and time set forth in the Notice (I) of Hearing
       Amended Subchapter V Plan ofReorganization ofAnson Financial. Inc. Date
       and (11) Related Deadlines.
               Ballots must be received by the Voting Deadline in order to be counted. You should
       review the Disclosure Statement and the Plan before vou vote.
               Your ballot must be signed in order to be counted.



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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

   IN RE:                                                    8


   ANSON FINANCIAL,INC.,                                                       CASE NO.21-41517


            DEBTOR.


          NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF SECOND
          AMENDED SUBCHAPTER V PLAN OF REORG^iNIZATION OF ANSON
          FINANCIAL,INC.DATED March 15,2022 AND QI)RELATED DEADLINES
                                                                               i

 The Court has set a hearing (the '^'Confirmation Hearins^^^ as set forth below to consider the
 confirmation ofthe Seconded Amended SubChapter VPlan ofReorganization ofAnson Financial,
 Inc. Dated March 15, 2022 (Docket No. 262)(the "PlarC^), Notice is hereby provided of the
 Confirmation Hearing and ofthe related dates and deadlines as set forth below.

          1.       April 13,2022 at 11:59 p.m. Central Time(CT)(the "BallotDeadline'^ as shown
                   in the Plan) is provided as the last day for filing written acceptances or rejections
                   ofthe Debtor's proposed Plan which must be rec^eived on that date at the offices of
                   Jeff Carruth, Weycer, Kaplan, Pulaski & Zuber,P.C. 3030 Matlock Rd., Suite 201
                   Arlington, TX 76015, facsimile (866) 666-5322, email jcarruth@wkpz.com.
                   Ballots may be accepted by mail, fax, and/or email but must arrive prior to the
                   Ballot Deadline.                                            j
                   April 17.. 2022 at 11:59 p.m. Central Time(CT)(the "Objection Deadline''^ as
                   shown in the Plan) is provided as the last day for filing and serving written
                   objections to confirmation ofthe Plan pursuant to Fed. R.Bankr. P. 3020(b)(1)and
                   L.B.R. 3020-1.'

                   The Court will conduct an evidentiary hearing regarding confirmation of the Plan
                   (the "Confirmation Hearins''' as shown in the Plan) on APRIL 21, 2022, at 9:30
                   A.M. Central Time (CT). which hearing ma>j be adjourned or continued to a
                   different date without further notice other than riotice given in open court at such
                   hearing.

          4.       The Confirmation Hearing will be conducted ehjctronically before the Honorable
                   Edward L. Morris at the Eldon B. Mahon U.S.(Courthouse, 501 W. Tenth Street,
                   Room 204, Fort Worth, Texas 76102. THE HE.
                   AND ALSO BE CONDUCTED BY THE WEBEX VIDEO AND AUDIO
                   FACILITIES OF THE COURT.



 ^ LB./?. 3020-1 Chapter 11 - Confirmation. Unless the court orders otherwise, an objection to confirmation shall be
 filed and served no later than 4 days prior to the date set for hearing on coriflrmatlon of the plan.

 NOTICE(I) OF HEARING TO CONSIDER CONFIRMATION OF SECOND AMENDED SUBCHAPTER V PLAN OF
 REORGANIZATION OF ANSON FINANCIAL,INC. DATED MARCH 15, 2(122 AND(H)RELATED DEADLINES —
 Page 1                                                                                                  2107940.DOail]
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                 Webex information is available at the following link.

                 httDs://www.txnb.uscoiuts.2ov/sites/txnb/files/hf;arin2s/WebEx%20Hearin2%20I
                 nstructions%20for%20Judee%20Morris l.ndf


 PLEASE CONTACT THE UNDERSIGNED IF YOU WOULD LIKE TO RECEIVE A
 COPY OF THE PLAN OR HAVE ANY QUESTIONS.




  Dated: March 15,2022                      Respectfully submitted:

                                            WEYCER,KAPLAN,PULASKI & ZUBER,P.O.

                                            By:   /?/JeffCarrutfi
                                                JEFF CARRUTH [TX SEN:.24001846)
                                               3030 Matlock Rd., Suite 201
                                               Arlington, Texas 76105
                                               Telephone:(713)^41-1158
                                               Fax:(866)666-5322
                                               E-mail: jcarruth@wkpz.com

                                            ATTORNEYS FOR
                                           ANSON FINANCIAL INC.
                                           DEBTOR AND DEBTOR IN POSSESSION




                                  CERTIFICATE OF SERVICE
 A separate certificate ofservice regarding the Plan solicitation set will be filed.
                                                       /s/JeffCarruth
                                               JEFF CARRUTH




 NOTICE (I) OF HEARING TO CONSIDER CONFIRMATION OF SECOND AMENDED SUBCHAPTER V PLAN OF
 REORGANIZATION OF ANSON FINANCIAL,INC. DATED MARCH 15, 2C22 AND(H)RELATED DEADLINES —
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                           UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION



   IN RE:


   ANSON FINANCIAL INC.,                                          CASE NO.21-41517-eIm-ll

          DEBTOR.


        SECOND AMENDED SUBCHAPTER V PLAN OF REORGANIZATION OF
        ANSON FINANCIAL INC.DATED March 15,2022



 1. INTRODUCTION AND BACKGROUND INFORMATION.

 1.1.   This Second Amended Subchapter VPlan ofReorganization ofAnson Financiallnc. Dated March
        15,2022(the "Plan")under Subchapter V ofChapter 11 oftlie Bankruptcy Code, 11 U.S.C.§ 1101
        et seq.(the "Code") proposes to pay creditors of Anson Financial Inc.(the "Debtor" or "Anson")
        from cash flow from future operations.

 1.2.   Anson filed this case on June 25, 2021 as a conventional Chapter 11 small business case. On July
        27, 2021 Anson amended its voluntary petition(Docket No. 19)to proceed under Subchapter V of
        Chapter 11. Areya Holder Aurzada is the Subchapter V Trustee.

 1.3.   For convenience,this plan is based upon the official small business form.Form B25B. Controlline
        definitions and rules ofconstruction appear in Section 9 below.

 1.4.   The proposed distributions under the Plan and the material terms of the Plan, including the
        estimated distribution to unsecured creditors is set forth in TABLE 1—^Key Plan Terms, Section 2
        of the accompanying Plan ("TABLE /"). As provided throughout herein, the Plan generally
        provides for (1) the full payment and/or continued servicing of the Investor Notes (as defined
        below)and(2)full payment ofall general unsecured claims fr^m earnings and/or the net disposable
        income ofthe Debtor over the sixty(60)months from the Effective Date (the "Plan Term").

 1.5.   All creditors and equity security holders should refer to Section 3 through Section 6 ofthis Plan for
        information regarding the precise treatment oftheir claim. You should read these papers carefully
        and discuss them with your attorn^,ifyou have one,(Ifyou do not have an attorneyj you may
        wish to consult one,)

 1.6.   Description and History of the Debtor's Business. Anson is a Texas corporation that has been
        in business for thirty-five(35) years primarily focused on the real estate lending field. At the core
        of its business, Anson originated or purchased debt instrurients secured by real property (e.g.
        promissory notes and deeds of trust)(collectively, the "Investor Notes") and then assigns interests
        in the Investor Notes to investors(the "Investors^)through co lateral assignments. Anson generates
        its revenues by maintaining ownership of a points spread bdtween the underlying obligation and
        the amount promised to Investors (the "Notes Income").




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        Until December 31,2020, Anson also received revenue as the servicer of the Investor Notes. On
        or about December 31, 2020, AFI Capital, Inc. d/b/a AFI Management Group, LLC.
        commenced its role as servicer of the Investor Notes and holder and conduit of the payments
        received form the underlying obligors of the Investor Notes. Anson pays a monthly fee to AFI in
        the amount of $35.00 per loan. (By way of example, for the month of August, 2021, Anson paid
        AFI the amount of $3,430 for Ae servicing of 98 loans in the Investor Notes portfolio.)
        Accordingly, Anson ceased its function as holder and conduit of the note pajnments and then the
        funds disbursed to the Investors. Anson's own interest in the Investor Notes was unaltered by the
        transitioning ofthe servicing function to AFI.

        The transition with respect to the servicing aspects of Anson's business was necessitated by the
        threat to Anson's assets by various parties pursuing litigation against Anson (as described in Plan
        §1.8 below) and the enormous potential threat to the interruption of the payment stream from the
        underlying obligors ofthe Investor Notes to the Investors from the litigation.

        AFI is owned 100% by Lonesome Dove Holdings, Inc. J. Michael Ferguson is the President sole
        Director of AFI.


 1.7.   Insiders and Management of Anson. J. Michael Ferguson founded Anson 35 years ago and has
        served as President and Sole Director of Anson since 2003, and he will continue to serve as
        President and Sole Director following confirmation ofthis Plan.

 1.8.   Significant events before and during the Chanter 11 case.

        1.8.1. Events Leading to Chanter 11 Filins. This Chapter 11 case was commenced in terms of
               timing due the threat from Ian Christ and Christ Law Firm P.C. (together "Ghrisf^) of
               Anson being placed into a receivership. Overall, the purpose of this Chapter 11 has been
               to bring to a conclusion a long series oflawsuits primarily prosecuted by Christ(who was
               once Anson's own attorney)and otherwise involving Frazier Management,Inc.("Frazier'')
               and the collaboration between Frazier's attorney, Caleb Moore, and Christ. The style and
               caption ofthe subject lawsuits is listed below (the ''^Lawsuits LisF^.

                     Case M and Court           Plaintiffs / Appellants /     Defendants / Appellees /
                                                       Petitioners                 Respondents

                 The following pending actions involving Ian Christ and Christ Law Firm P.C.,
                 whether in the district court. Court of Appeals, or Texas Supreme Court, are
                 referred to hereinafter as the ^ChristLawsuits,^

                 017-287611-16; 17"^           Christ Law Firm,PLLC          J. Michael Ferguson,PC,J.
                 District Court, Tarrant       and Ian Christ                Michael Ferguson, Anson
                 County, Texas; 02-18-                                       Financial, Inc. and MBH
                 00332-CV, 2"^ Court of                                      Real Estate, LLC
                 Appeals; No. 21-0565;
                 Supreme Ct. of Texas.

                 02-18-00332-CV, 2nd           J. Michael Ferguson,PC,J. Christ Law Firm,PLLC
                 Court of Appeals, Fort        Michael Ferguson, Anson   and Ian Christ
                 Worth, Texas.                 Financial, Inc. and MBH
                                               Real Estate, LLC



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                    Case ## and Court           Plaintiffs / Appellaijts /    Defendants / Appellees /
                                                       Petitioners                 Respondents
                                                                        1

                No. 21-0565; Supreme Ct.       J. Michael Ferguson,PC        Ghrist Law Firm,PLLC
                of Texas.                      and J. Michael Ferguson       and Ian Ghrist

                067-311209-19,67'^             MBH Real Estate, LLC,         Ghrist Law Firm,PLLC
                District Court, Tarrant        AFI Loan Servicing, LLC,      and Ian Ghrist
                County, Texas. **alleged       Anson Financial, Inc. and
                postjudgment discovery         J. Michael Ferguson,PC
                sanctions are interlocutory
                orders.


                07-20-00027-CV,1^ Ct of MBH Real Estate, LL<c,               Ghrist Law Firm,PLLC
                Appeals, Amarillo, Texas.      AFI Loan Servicing,Ixc,       and Ian Ghrist
                                               Anson Financial, Inc. and
                **Mandate issued on            J. Michael Ferguson,1>c
                12/21/2020


                DC-18-09192, 192°''            J. Michael Ferguson,PC        Gasget, LLC (Ian Ghrist
                Judicial District Court,       and AFI Loan Servicing,       owns Gasget,LLC)
                Dallas County, Texas.          LLC


                                          Other Lawsuits(Non-Ghri^t Lawsuits)
                236-269254-13,236*^            Shawn Coker, et al            Metro Buys Homes,LLC,
                District Ct., Tarrant                                        et. al.
                County, Texas.
                (Receivership in this case
                is what the dispute has
                been about)

                342-288776-16,342"'*           B. Frazier Managemei          Anson Financial, Inc.
                District Court, Tarrant        Inc. fka Frazier Asset
                County, Texas.                 Management,Inc. and
                                               Brian Frazier

                2019-001471-3, Coimty          Anson Financial,Inc.          Caleb Moore and The Law
                Court at Law No. 3,                                          Firm of Caleb Moore,
                Tarrant County, Texas.                                       PLLC


                02-19-00201-CV,2""             Anson Financial, Inc.         Caleb Moore and The Law
                Court of Appeals, Fort                                       Firm of Caleb Moore,
                Worth, Texas.                                                PLLC




               Due to the volume oflitigation, the Debtor reserves the right amend the Lawsuit List by
               one or more supplements to the Planfiledprior to tke Confirmation Hearing,




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                  On September 23, 2021, Anson removed Case No. 067-311209-19 and Case No. 342-
                  288776-16 to this Court, which actions is now assigned Adversary No. 21-04058-elm. On
                  or about February 16,2022,the Court remanded Adversary No. 21-04058 back to the state
                  court(the "G/tm/ Adversary Proceedins'\

                  Following the remand ofthe Christ Adversary Proceeding, on February 22,2022, a bill of
                  review was filed in an action styled as Cause No.067-332086-22; MBHReal Estate, LLC:
                  API Loan Servicing, LLC; Anson Financial, Inc., and J. Michael Ferguson, P.O.,
                  Petitioners vs. Ian Christ and Christ Law Firm, PLLC, Respondents, in the 67th District
                  Court in and for Tarrant County, Texas(the "Bill of Review"!

                  A discussion relating to a global resolution of all disputes between Anson and Christ
                  appears below.

                  On November 1, 2021, Anson removed Case No. 342-288776-16 to this Court, which
                  action is now assigned Adversary No. 21-04071-elm (the "Frazier Adversary
                  Prgceedin^^).

         1.8.2. Events during and information relating to this Bankruptcy Case: The entirety ofthe events
                that have occurred during this Chapter 11 case may be found on docket sheet of this case
                available at the Court or through the PACER website of the Court,
                httDs://ecf.tx\vb.uscourts.sov/. Any ofthe documents on file in this case may be obtained
                by contacting the undersigned law firm or are available at the following shared folder link
                  shown in the footnote below and selecting the folder for this case.'

                  The post-petition activity related to the Frazier Adversary Proceeding and the Christ
                  Adversary Proceeding are referenced and described above.

                  The Debtor has objected to ProofofClaim No.5 and Proofof Claim No.6 filed by Christ.

                  The Debtor also has objected to Proof of Claim No. 20 filed by Frazier, which claim
                  objection is consolidated with the Frazier Adversary Proceeding. Trial docket call in the
                  Frazier Adversary Proceeding is scheduled to occur on April 4,2022 as ofthe filing ofthis
                  Plan.


                  After the Petition Date, two additional actions were commenced against the Debtor as
                  referenced and described below. As of the filing of this Plan, approval of a settlement
                  regarding the Sterling Bates matter is pending before the Court {^see Docket No.259). The
                  Debtor will defend the Joseph Yammine adversary proceeding, and the Debtor does not
                  believe that Yammine is entitled to any recovery and thus has objected to the imderlying
                  proofs ofclaim and otherwise constructed this Plan accordingly.^




  https://drive.google.com/drive/folders/lXPWkG 8WZApJLci7Z-uzsELlJbw 1 SB2hn?usD=sharing
  The docket items from these two adversary proceedings are included in the shared folder link above.

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                             Case No.                        Plaintiff(s)                   Defendant(s)

                    Cause No.048-330187-            Sterling Bates                   Anson Financial Inc.
                    21,48*'' District Court,
                    Tarrant Co. Texas^

                    Adv. No. 22-04008               Joseph Yammine dba JW           Anson Financial, Inc., S &
                                                    Construction                    F Funding, LLC,and
                                                                                    Chany Development,Inc.


                   On March 7,2022, Anson, J. Michael Ferguson, and Ian Ghrist, and all pertinent affiliates
                   and subsidiaries related thereto, entered into a global settlement agreement to finally
                   resolve all disputes among the parties and to release any and all claims. The Anson
                   bankruptcy estate did not provide any funds towards this settlement. As a result of the
                   global settlement, Anson has or will dismiss the Bill of Review with prejudice, Ghrist has
                   or will withdraw Proof of Claim No. 5 and Proof of Claim NO. 6, and any and all other
                   pending actions will be dismissed with prejudice.

          1.8.3.   Retention ofavoidable transfers and other claims and causes ofaction ofthe estate. Anson
                   shall RETAIN as an asset after the Effective Date for the benefit of the estate and/or the
                   reorganized debtor (i) all avoidance actions and/or any other claims, causes of action,
                   and/or any and all other lawsuits under Code §§544,547,548,549, and/or 550, including
                   any objections to claims and any related set offs,and any and all facts,claims,issues,rights,
                   remedies, and/or defenses related thereto, including the claims and causes of action set
                   forth in Exhibit ANS305.01. (ii) any other claims, puses of action, and/or any and all
                   other lawsuits, civil actions, contested matters, and^or adversary proceedings which are
                   referenced and described elsewhere in this Plan and/or otherwise which are pending as of
                   the confirmation ofthe Plan in or outside ofthis bankruptcy case,or which could have been
                   brought or asserted before the confirmation ofthe Plan,and any and all facts,claims,issues,
                   rights, remedies, and/or defenses related thereto, anid (iii) further including the right to
                   amend pleadings and assert revised and/or new claims as provided in any applicable
                   scheduling order, rule of procedure, or other applicable law.

                   However, Anson is proposing a 100% payment plan to general unsecured creditors and
                   thus does not believe that it will be necessary to pursue any avoidance actions in order to
                   fully fund the Plan.^

                   OtherwisCt Anson may provide notice ofadditional claims and/or causes ofaction by a
                   supplement to the Plan to befiled within seven (7)days ofthe Confirmation Hearing,


          1.8.4. Objections to Claims. Except to the extent that a cliim is already allowed pursuant to a
                 final non-appealable order, Anson reserves the right to object to all claims (including
                 scheduled claims) through and until and even after tlie Effective Date. Therefore, even if
                 your claim is allowed for voting purposes, you may not be entitled to a distribution if an




 ^ See also Docket No.221, motion to lift stay filed by Sterling Bates, and Ri le 9019 motion. Docket No. 259.
 ^ See also Plan §13.2 regarding retained causes of action.

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                  objection to your claim is later upheld. Any objection to a proof ofclaim shall be deemed
                  to be an amendment to the Schedules previously filed by Anson.

  1.9.    Current And Historical Financial Conditions.

          1.9.1. The assets and liabilities of Anson are described in the Schedules(Docket No. 16), as may
                  be amended,^ and Statement of Financial Affairs (Docket No. 17) filed by Anson in this
                  case.       A summary of the assets of and claims against Anson appears in
                  Exhibit ANS301.01^ and Exhibit ANS302.01 attached hereto. The deadline for filing
                  proofs of claim occurred on November 9, 2021 and February 7, 2022 for governmental
                  entities.

          1.9.2. A liquidation analysis appears in Exhibit ANS303.01.

          1.9.3. Projections in support ofthe Plan appear in Exhibit ANS304,01.

          1.9.4. Anson reserves the right to amend any ofthe schedules,the Statement ofFinancial Affairs,
                 and/or schedules and other information in support of the Plan prior to the Confirmation
                 Hearing.

          1.9.5. The most recent operating report of the Debtor is available on PACER,the Google drive
                 link described above, and/or or by contacting the undersigned.

                  NO CLAIM SHOULD BE DEEMED TO BE ALLOWED IN ANY PARTICULAR
                  AMOUNT BASED UPON A DESCRIPTION OR REFERENCE TO ANY SUCH
                  CLAIM OR TO ANY CLASS OF CLAIMS IN THE EXHIBITS.


                  THE DEBTOR DOES NOT WAIVE ANY FACT, CLAIM, ISSUES, RIGHT,
                  REMEDY, AND/OR DEFENSE WITH RESPECT TO A DESCRIPTION OR
                  REFERENCE TO ANY CLAIM IN THE EXHIBITS.




 ^ The Debtor is amending-the Schedules concurrently with the filing ofthis Plan to address the Marata Martinez note
 and deed of trust and the encumbrance of that asset by Southern Financial Group Mortgage LLC. See also Docket
 Nos.221,258.
 ^ The Debtor is consecutively numbering all exhibits throughout this case. The exhibits related to the plan and
 disclosure statement will begin with the number 301.

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 2. SUMMARY OF THE PLAN. TABLE 1 — KEY PLAN TERMS. The key terms of this Plan are
    set fortli in TABLE 1 below.


                                                    TABLE 1 KEY PLAN TERMS
                                              TREATMENT OF CLAIMS

                          Creditor               Impaired          Projected        interest « »          Payment
                                                                   Allowed                                Per Month           Payments
                                                                      C aim


      dri^lassified Claiinb
             WKPZ Fees {estimated)                                        50,000 h/a
             SubV Trustee(estimated)                                      10,000 h/a
             Priority(BPP)taxes                                               102 n/a
     Slaired Claims
             Investor Notes                        No                  5,538,186
             SBA                                   No                    154,733
     l^idrity Unsecured tlainis
             None.

     General Unsecured Claims                                                                    1   •      •
        3    General unsecured claims        j     No       j            309,472]            0       60          5,158            309,472     2

     Equity Interests                                             f
             Equity interests - see below
                                                      EQUfTYIN REORGANIZED DEBTOR
                                                                 %                  Pre-Bk                      Disposition
                                                          Interest                  Interest


                   J. Michael Ferguson            95.37%                            95.37%                        Retain.

                Chandler Ferguson Trust            1.42%                             1.42%                        Retain.

                     Pat Ferguson                  1.19%                             1.19%                        Retain.

                      Jay Lesok                   52.00%                            52.00%                        Retain.

                      Leroy York                   1.50%                             1.50%                        Retain.

                                                   MANAGEMENT AFTER REORGANIZATION

                           Name                                         Position                           Comp.               Comp.
                                                                                                          Per Month           PerYear

                   J. Michael Ferguson                                 President                                     0                   0

                            Note:Compensation dependent upon payment of claims and-orfunds avaiiable.
                                         EXECUTORY CONTRACTS AND/OR LEASES TO BE ASSUMED
                        Counterparty                  Description of Contract         Cure                                    Payments
                                                                                                           Amount           Per Month
             AFi Management Group Inc.                      Servicer of Investor Notes                               0              3,430
             AFI Loan Servicing, LLC                            Service of mortgages                                 0

             Investor Notes                             Any and all service obligations                              0

             Any insurance policies                             Any insurance policies                               0

                                         EXECUTORYCONTRACTS AND/OR LEASK TO BE REIECTED
                        Counterparty                            Description of Contract
                                       Any and all other contracts
             1- Debtor is a conduit. Payments vary over time.
             2- See Section 5.3 of the Plan regarding potential variables for the class.




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  3. CLASSIFICATION OF CLAIMS

         The classification of claims and interests and the impairment of claims and interests is set forth in
         TABLE 1 and /or the Exhibits attached to the Plan.

  4. TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS. U.S. TRUSTEES FEES. AND
         PRIORITY TAX CLAIMS


  4.1.      Unclassified Claims. Certain types ofclaims are automatically entitled to specific treatment under
            the Code. Under Code §1123(a)(1), administrative expense claims, and priority tax claims are not
            in classes. They are not considered impaired, and holders of such claims do not vote on the Plan.
            They may, however, object if, in their view, their treatment under the Plan does not comply with
            that required by the Code. As such, pursuant to Code §1129(a)(1), the Debtor has not placed such
            claims in any class.

  4.2.      Administrative Expenses. Administrative expenses are costs or expenses of administering the
            Debtor's Chapter 11 case which are allowed under Code §507(a)(2). Administrative expenses also
            include the value of any goods sold to the Debtor in the ordinary course of business and received
            within 20 days before the date ofthe bankruptcy petition. The Code requires that all administrative
            expenses be paid on the Effective Date ofthe Plan, unless a particular claimant agrees to a different
            treatment.


            As ofthe filing ofthis Plan, the Debtor has received no notice ofany administrative expense, other
            than attorneys' fees and expenses of Weycer Kaplan Pulaski & Zuber P.C. CWKPZ")and Lee Law
            Firm,PLLC             incurred for Anson and the fees ofthe Subchapter V Trustee.

            As a condition ofand prior to the Effective Date, Anson shall reserve sufficient funds to satisfy the
            anticipated final allowed administrative claim of each of WKPZ, LLP, and the Subchapter V
            Tmstee, unless otherwise paid or otherwise agreed.

  4.3.      Priority Tax Claims. Priority tax claims are unsecured income, employment, and other taxes
            described by Code §507(a)(8). Unless the holder of such a §507(a)(8) priority tax claim agrees
            otherwise, it must receive the present value ofsuch claim,in regular installments paid over a period
            not exceeding five(5) years from the order ofrelief.'

  5. TREATMENT OF CLAIMS AND INTERESTS, The following are the classes set forth in the
     Plan, and the proposed treatment that they will receive under the Plan:

  5.1.      Class 1 — Investor Notes.

            5.1.1.   Identity of Claims in Class: Class 1 consists of each ofthe holders of the various Investor
                     Notes owned by Anson. The Investor Notes are grouped together according by holder or
                     beneficiary ofthe collateral pledge and are identified in the table below.




'Anson owes de minimis business personal property taxes ofless than $150.00 for tax year 2021, which claims are
 addressed in the Plan support documents as priority claims rather than create a separate class for such a small amount.
 No statutoiy tax liens are altered by the Plan.

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                                    Holder                                 Due as of
                                                                     Patitlon Date

                  Arvella Godbey                                                       15,835
                  Heritage Credit, LLC                                             252,575
                 Jentex Financial, Inc.                                           1,682,584
                 S&F Funding, LLC                                                  823,299
                  York Family Partnership                                         2,763,893
                 TOTAL                                                            5,538,186


        5.1.2.   Treatment: Each claim in this class, as identified above, shall be deemed to be an allowed
                 claim. The Investor Notes shall remain in full force and effect and payments shall continue
                 to flow through to the Investors. None of the Investor Notes instruments shall be altered
                 by this Plan and shall continue as written or as otherwise agreed between Anson and an
                 Investor. Anson will continue to oversee management and servicing ofthe Investor Notes.
                 Anson also will retain ownership of its interest in the Investor Notes, and the Note Income
                 will be the primary source offunding the Plan.

        5.1.3.   Voting. Class 1 is unimpaired (and if and when applicable, according the modifications
                 agreed to by Anson and an Investor) and deemed to accept the Plan.

 5.2. Class 2 — Small Business Administration                         |
        5.2.1. Identitv of Claims in Class: Class 2 consists ofthe SBA facility referenced and described
                 in Proof of Claim No. 1.

        5.2.2. Treatment: Anson shall resume payment ofand/or continue to pay the SBA note according
                 to its terms.

        5.2.3. Voting. Class 2 is unimpaired and deemed to accept the Plan.

 5.3.   Class 3 — General Unsecured Claims.


        5.3.1. Identitv of Claims in Class: Class 3 consists of the allowed claims of general imsecured
                 creditors whose claims are filed and/or scheduled and the current status ofeach is listed in
                 Exhibit ANS302.01.                                    j
        5.3.2. Treatment: The Debtor shall pay the allowed general unsecured claims in Class 3 in full
               and over a maximum period of sixty (60) months from the Effective Date of the Plan by
               paying (i) the net disposable income ofthe Debtor pro rata to the holders of claims in this
               Class, and (ii) if necessary, a lump sum balloon payment for the 60th payment for any
               remaining balance due to any Class 3 creditor at die end of the 59th month. For the
               avoidance of doubt, the Debtor will pay only those holders of Class 3 claims which are
               allowed claims and, as ofthe filing of this Plan,the claims of Frazier are disputed and not
                 allowed.


                 The payments to the Class 3 allowed general unsecured claims shall be made on the 15th
                 day of each month commencing with the first full calendar month following the Effective
                 Date, and shall occur on the 15th day of each succeeding month throughout the 60-month
                 period.


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                The Debtor projects the payments to the Class 3 unsecured creditors according to two
                potential scenarios as demonstrated in Exhibit ANS302.01 and Exhibit ANS304.01. both
                ofwhich scenarios depict different potential treatment based prmarily upon the outcome of
                the Frazier Adverary Proceeding.

                Scenario 1 projects the impact of Proof of Claim No. 20 filed by Frazier being allowed
                after adjudication of the Frazier Adverasiy Proceeding in the mamximum amount of
                $28,715(which was the redemption interest as ofthe Petition Date ofFrazier in the Alvord
                287 Partnership, but subject to setoffs, defenses, and/or reductions in the view of the
                Debtor).

                Scenario 2 projects the impact of Proof of Claim No. 20 filed by Frazier being allowed
                after adjudication of the Frazier Adverasiy Proceeding in the mamximum amount of
                $674,516 as filed.

                In any event, the ultimate total amount ofthe allowed claims in Class 3 depends upon the
                final adjudication of Proof of Claim No. 20 in the Frazier Adverary Proceeding which
                contested matters adversary proceedings and/or contested matters with respect to Frazier
                remain pending as ofthe filing ofthis Plan.

                In additon, and following the final adjudication of the Frazier Adverasry Proceeding
                (including the allowance and/or disallowance of Proof of Claim No. 20), the Debtor
                believes that any allowed claim ofFrazier is entitled to be paid from only the assests ofthe
                Alvod 287 Partnership, and/or the assets ofthe Alvod 287 Partnership may be used to pay
                any allowed claim of Frazier(thus reducing the funds which the Debtor must contibute to
                Class 3).

        5.3.3. Voting. Class 3 is IMPAIRED and may vote to accept or reject the Plan.

 5.4.   Class 4 — Class of Equity Interest Holders.

        As ofthe Petition Date, the following constitute the equity structure of Anson as set forth below.

                    Holder                        % Ownership
         J. Michael Ferguson                          95.37%
         Chandler Ferguson Trust                      1.42%
         Pat Ferguson                                  1.19%
         Jay Lesok                                    0.52%
         Leroy York                                    1.50%



        Each equity interest holder shall retain its interest following confirmation ofthe Plan.

        Class 4 is imimpaired and is deemed to accept the Plan.

 6.     ALLOWANCE AND DISALLOWANCE OF CLAIMS

 6.1.   Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a final non-
        appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed, and
        the Debtor or another party in interest has filed an objection or otherwise which is the subject of a
        pending contested matter, adversary proceeding and/or other contested matter; or (ii) no proof of


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          claim has been filed, and/or (ill) the Debtor has scheduled such claim as disputed, contingent, or
          unliquidated.

 6.2.     Without limitingfuture potential claim objections, the Debtor currently disputes certain claims
          identified in Section 5.3,1 above and/or Exhibit ANS302.01, including specifically and without
          limitation ProofofClaim No. 20filed by Frazier.

 6.3.     Delay of Distribution on a Disputed Claim. No distribution will be made on account ofa disputed
          claim unless such claim is allowed by a final non-appealable order.

 6.4.     Settlement of Disputed Claims. After the Effective Date, the Debtor will have the power and
          authority to settle and compromise a disputed claim without court approval and without compliance
          with Bankruptcy Rule 9019.

 7.       PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES


 7.1.     The Debtor ASSUMES the executory contracts and/or unexpired leases referenced and described
          in TABLE 1 upon the date ofthe entry ofthe order confirming this Plan.
                                                                        j
 7.2.     Specifically the Debtor assumes the contract between the Debtor Md API for the servicing of the
          Investor Notes.


 7.3.     Otherwise,the Debtor will assume any executory contract for which a motion to assume is granted
          or pending prior to the Effective Date.

 7.4.     The Debtor will be conclusively deemed to have REJECTED all executory contracts and/or
          unexpired leases not expressly assumed above, or before the Effective Date or as otherwise
          specified in TABLE 1.

 7.5.     PROOF OF CLAIM FOLLOWING REJECTION: A proof of a claim arising from the
          rejection of an executory contract or unexpired lease under this section must be filed no later
          than fourteen (14)davs after the date of the order confirming this Plan. Any such claim will
          be treated, if allowed general unsecured claim and the general unsecured creditor class will be
          adjusted accordingly.                                        |
 8.     MEANS OF IMPLEMENTING THE PLAN.


 8.1.     Source of Payments. Payments and distributions imder the Plan will be ftmded by the income
          from the normal operations ofthe Debtor, and consisting primarily ofthe Note Income.

 8.2.     Distribution of Payments. The reorganized Anson shall be the disbursing agent for payments
          under the Plan, or in the event of a confirmation under Cojde §1191(b), then the Subchapter V
          Trustee shall act as the disbursing agent, unless the Court orders otherwise.

 8.3.     Post-confirmation Management. The post-confirmation management of the Debtor, and the
          compensation for each such person is set forth in the in TABLE 1.

 8.4.     Risk Factors. The proposed Plan has the following risks: A sufficient number ofthe underlying
          obligors of the Investor Notes default in their obligations and/or pay off the Investor Notes early
          thus reducing the Note Income to Anson to a point that Anson does not possess sufficient resources
          to fund the payments required under the Plan.


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 9. GENERAL PROVISIONS

 9.1.    Definitions and Rules of Construction. The definitions and rules ofconstruction set forth in Code
         §§101 and 102 shall apply when terms defined or construed in the Code. Other terms are defined
         throughout the Plan, and terms may be defined in the and then used in the Plan and vice versa. Any
         reference to the Debtor that applies to any period oftime after the Effective Date shall refer to the
         Debtor as the Reorganized Debtor. In addition, the following terms used in the Plan are defined
         below.


         9.1.1. "Confirmation Hearins^^ shall mean and refer to the hearing conducted by the Court to
                  consider this Plan.


         9.1.2. "Confirmation Order''' shall mean and refer to the order confirming this Plan.

 9.2.    Severabilitv. If any provision in this Plan is determined to be unenforceable, the determination
         will in no way limit or affect the enforceability and operative effect of any other provision of this
         Plan.


 9.3.    Captions. The headings contained in this Plan are for convenience of reference only and do not
         affect the meaning or interpretation of this Plan.

 9.4.    Primacy of the Plan and Confirmation Order. To the extent of any conflict or inconsistency
         between the provisions of the Plan on the one hand, and the Confirmation Order on the other hand,
         the provisions of the Confirmation Order shall govern and control. Unless directed by the Court
         to so earlier^ the Debtor willfile notice ofa proposed Confirmation Order seven (7)daysprior to
         the Confirmation Hearing.

 9.5.    Binding Effect. The rights and obligations of any entity named or referred to in tliis Plan will be
         binding upon,and will inure to the benefit ofthe successors or assigns ofsuch entity.

 9.6.    Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the
         Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Texas govern this
         Plan and any agreements,documents,and instruments executed in connection with this Plan,except
         as otherwise provided in this Plan.

 9.7.    Corporate Governance. After the Effective Date of the order confirming the Plan, the
         management of the Debtor will consist of the following: J. Michael Ferguson, President and
         Director, who will receive no salary.

 9.8.    Corporate Authority. All actions and transactions contemplated under the Plan shall be
         authorized upon confirmation ofthe Plan without the need offurdier approval, notice or meetings,
         that might otherwise be required under applicable state law or otherwise, other than the notice
         provided by serving this Plan on all known creditors of Anson, all interest holders, and all current
         directors or managers of Anson.

 9.9.    Fixing of Claims. To the extent that the modification and/or fixing of any claim occurs under the
         Plan,tlie Plan also constitutes an objection to any filed proofofclaim and/or scheduled claim under
         Code §502 and/or Bankruptcy Rules 3007 and 9014, and any applicable Local Rules.

 9.10.   Settlement of Claims and Disputes. The Plan also constitutes a motion under Bankruptcy Rule
         9019 to the extent necessary to confirm the Plan.


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 9.11.    Debtor name change. The Debtor may change its name and/or adopt one or more business aliases
          after the Effective Date.


 10. EFFECT OF CONFIRMATION OF PLAN — DISCHARGE

 On the effective date of the Plan, the Debtor shall be discharged from any debt that arose before
 confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in Code
 §1141(d)(1)(A) except that the Debtor shall not be discharged of any debt(i)imposed by the Plan,(ii) of a
 kind specified in Code §1141(d)(6)(A)ifa timely complaint was filed[in accordance with Bankruptcy Rule
 4007(c),or(iii) ofa kind specified in Code §1141(d)(6)(B). After the effective date ofthe Plan your claims
 against the Debtor will be limited to the debts described in clauses(i)through (iii) ofthe preceding sentence.
 11. EFFECTIVE DATE OF PLAN.


 The effective date of the Plan (the ''Effective        shall be the first business day following the date that
 is fourteen (14) days after the entry of the order of confirmation. If, however, a stay of the Confirmation
  Order is in effect on that date, the Effective Date will be the first business day after the date on which the
 stay ofthe Confirmation Order expires or is otherwise terminated. The Effective Date may occur without
 further notice by the Debtor.

 12. FINAL DECREE

 Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of Bankruptcy
 Procedure,the Debtor, or such other party as the Court shall designate in the Confirmation Order, shall file
 a motion with the Court to obtain a final decree to close the case. Aliematively, the Court may enter such
 a final decree on its own motion.

 13. OTHER PLAN PROVISIONS

  13.1.   Scope and Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to: (i) hear
          and determine pending applications for the assumption or rejection of contracts or leases and the
          allowance ofClaims resulting therefrom;(ii) hear and determine any and all adversary proceedings,
          applications, and contested matters, including any remands of appeals, and including any Estate
          Actions; provided, however, that the Reorganized Debtor shall not be required to seek or obtain
          approval ofthe Bankruptcy Court under Bankruptcy Rule 9019 or otherwise as to the settlement or
          compromise of any Estate Actions post-Effective Date; (iii) ensure that distributions to holders of
          Allowed Claims are accomplished as provided herein;(iv)hear and determine any timely objections
          to or applications conceming Claims or the allowance, classification, priority, estimation, or
          payment of any Claim or Interest, and to enter Estimation Orders;(v) hear and determine all Fee
          Applications and Fee Claims; provided, however,that the Reorganized Debtor shall not be required
          to seek or obtain approval ofthe Bankruptcy Court under secfion Code §330 or otherwise as to the
          allowance or payment of professional fees post-Effective Date; (vi) enter and implement such
          orders as may be appropriate in the event the Confirmation Order is for any reason stayed,revoked,
          modified, reversed, or vacated; (vii) hear and determine disputes arising in connection with the
          execution, interpretation, implementation, consummation, or enforcement of the Plan; (viii) enter
          and implement such orders as may be necessary or appropriate to execute, interpret, implement,
          consummate, or enforce the Plan and the transactions contemplated thereimder;(ix) consider any
          modification of the Plan pursuant to Code § 1127, to cure aay defect or omission or to reconcile
          any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
          Confirmation Order;(x)enter and implement orders or take s ich other actions as may be necessary
          or appropriate to restrain interference by any entity with the consummation or implementation of


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          the Plan, including, without limitation, to issue, administer and enforce injunctions provided for in
          the Plan and the Confirmation Order;(xi)recover all assets ofthe Debtor and property ofthe estate,
          wherever located; (xii) hear and determine matters concerning state, local, and federal taxes in
          accordance with Code §§ 346, 505, and 1146; and (xiii) hear and determine any other matter not
          inconsistent with the Code and title 28 ofthe United States Code that may arise in connection with
          or related to the Plan; and enter a final decree closing the Bankruptcy Case. For the avoidance of
          doubt, the Bankruptcy Court shall retain jurisdiction over and complete the adjudication of the
          Frazier Adversary Proceeding (including the objection to Proof of Claim No. 20 which is
          consolidated therewith).

  13.2.   Litigation and retained causes of action. Anson expressly retains for the benefit ofthe estate and
          the reorganized debtor after the Effective Date the claims and causes of action referenced and
          described in Exhibit ANS305.01.


          Otherwise, Anson may provide notice of additional claims and/or causes of action by a
          supplement to the Plan to befiled within seven (7)days ofthe Confirmation Hearing.



                                                        ANSON FINANCIAL INC.,DEBTOR
                                                        AND DEBTOR-IN-POSSESSION


                                                        By:

                                                        /s/ J. Michael Ferguson
                                                        By: J. Michael Ferguson,President


 Counsel to the Debtor and
 Debtor in Possession:


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 - and-


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                                      EXHIBIT ANS301.01



                                   EXHIBIT ANS301.01
                                    Assets as of Petition Date
                                    No Admission of Liabilitv
                                                          Value on Schedule A-B
  Cash                                                                  31,491.00
  Cash Bond - 67th Court                                                 4,104.10
  Cash Bond - 17th Court                                               243,258.68
  Notes Receivable                                                   4,000,105.97
  Claims vs. Third Parties                                             208,310.33
  Tax NOL2019                                                            9,167.00
  Tax NOL 2020(ESTIMATED)                                              573,208.80
  Interests in other entities                                         2,073,489.41
  Marta Martinez note+DOT                                               46.423.73
  (collateral pledge to Southern
  Financial - see Dkt #259)
              TOTAL                                                  7,189,559.02
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                                                                                  EXHIBIT ANS302.01


                                                                         EXHIBIT ANS302.01 - SCENARIO 1
                                                                             Scheduled Claims and Proofs of Claim Analysis
                                                                                     NO ADMISSION OF LIABILITY


                                                                                                                                  Potential
                                                                                                                     Total                      C assTotal
                                                                                                                                  Allowed

Schedule D                     Godbey,Arvella                            15,835                                        15,835         15,835
Schedule D                     Heritage Credit, LLC                    252,575                                                       252,575,
   19                         Jentex Financial, Inc.                  1,682,584                                                    1,682,584
Schedule D                    S&F Funding, LLC                         823,299                                   HEESSSI             823,299
Schedule D                    York Family Partnership                 2,763,893                                  1   2,763,8931    2,763,893
        Class total



                                                                                                                                               HHSSSli
                                                                                                                                                             Disputed / objection-adversary pending
                                                                                                             0                                               Settled c. 3/7/2022, claim withdrawn.
    8                 3                                                                                 38,000                                               Disputed / objection-adversary pending
    9                 3       1Barron,Simone                                                          418,000                                                 isputed / objection-adversary pending
                               Barron,Simone                                                                                                                 Disputed / objection-adversary pending
                               Vammine, Joseph Imad                                                                                                          Disputed / objection-adversary pending
                               Yammine, Joseph Imad                                                                                                          Disputed / objection-adversary pending
   13                          Yammine, Joseph Imad                                                                                                          Disputed / objection-adversary pending
   14                         jYammine, Joseph Imad                                                                                                          Disputed / objection-adversary pending
   15                         Yammine,Joseph Imad                                                                                                            Disputed / objection-adversary pending
   16                         Yammine, Joseph Imad                                                                                                           Disputed / objection-adversary pending
   17                         JPMorgan Chase                                                                                                                 Disputed - debtor believes amount Is $0.00.
Schedule F                     Eldrldge, G. Parker
Schedule F                     Godbey, Carol
Schedule F
        Class total
    2                 n/a      JPMorgan Chase                                                                                                                CLAIM WITHDRAWN

    6                 n/a     |67th Judicial District Court(Ghrist)                                                                                          Settled c. 3/7/2022, claim withdrawn.
   IS               n/a                                                                                                                                      CLAIM WITHDRAWN
Schedule F          n/a                                                                                                                                      Notice only.
    3             n/a - tax    City of Colleyvitle
                  n/a •tax     Grapevine/Colleyville ISO
                  n/a - tax   Tarrant County                                34
                      n/a     Isouthern Financial Group Mortgage      46,423.73                                                                  46,423.73 0.00 plan distrib. see Bates 9019 motion Dkt. H259
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                                                                                  EXHIBIT ANS302.01


                                                                         EXHIBIT ANS302.01 - SCENARIO 2
                                                                             Scheduled Claims and Proofs of Claim Analysis
                                                                                     NO ADMISSION OF LIABILITY

                                                                                                                                     Potential
                                                                                                                     Total
                                                                                                                                     Allowed

Schedule D                     God bey, Arvella                         15,835                                [lillllllll lH I I I       15,835
Schedule D                     Heritage Credit, LLC                    252,575                                         252,575          252,575
   19                          Jentex Financial, Inc.                 1,682,584                                      1,682,584        1,682,584
Schedule D                     S&F Funding, LLC                        823,299                                         823,299          823,299
Schedule D                     York Family Partnership                2,763,893                                                       2,763.893
         Class total                                                                                           ■■HH
                                Sma   Business Administration                                                                           154,733


                                                                                                                                                     Disputed / objection-adversary pending

                                                                                                                                        B74.S16      Disputed / objection-adversary pending
                                Ghrist Law Firm PLLC                                                           1 .              0                0   Settled c. 3/7/2022, claim withdrawn
                                Barron, Simone                                                                                                       Disputed / objection-adversary pending
                                Barton, Simone                                                                                                       Disputed / objection-adversary pending
                                Barron, Simone                                                                                                       Disputed / objection-adversary pending
                                Yammine, Joseph Imad                                                                                                 Disputed / objection-adversary pending
                                Yammlne, Joseph Imad                                                                                                 Disputed / objection-adversary pending
                                Yammine, Joseph Imad                                                                                                 Disputed / objection-adversary pending
                                Yammine, Joseph Imad                                                                                                 Disputed / objection-adversary pending
                                Yammine, Joseph Imad                                                                                                 Disputed / objection-adversary pending
    16                          Yammine, Joseph Imad                                                                                                 Disputed / objection-adversary pending
Schedule F                      Eldridge, G. Parker
Schedule F                      Godbey, Carol
Schedule F |                    York, Leroy
         Class total
                       n/a     JPMorgan Chase                                                                                                        CLAIM WITHDRAWN

                     n/a       |67th Judicial District Court(Ghrist                                                                                  Settled c. 3/7/2022, claim withdrawn
    18               n/a       IL'.WIHjgB                                                                                                            CLAIM WITHDRAWN

Schedule F           n/a        IRS                                                                                                                  Notice only.
    3              n/a •tax     City of Colleyville                         19
                   n/a - tax    Grapevlne/Colleyvllle ISD                   83

                   n/a - lax   Tarrant County                               34
                     n/a       ISouthern Financial Group Mortgage     46,423.73                                                                      0.00 plan distrib. see Bates 9019 motion Dkt. JJ259
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                                    EXfflBIT ANS303.01




                                EXHIBIT ANS303.01
                                   Liquidation Anaiysis
                                 No Admission of Liabiiity


            Cash                                        $36,509.26
            AFI Management Rec                          $16,091.68
            Cash Bonds                                       $0.00
             Mortgages Receivables                   $2,621,054.14    70%
            62 Main St.                                $836,404.78
            AFI Technology                                   $0.00
            AFM Investments, Inc.                      $137,506.58
            AFM Technology, LLC                         $67,309.34
            All American Royalties, Inc.               $573,128.96
            Alvord 287                                 $293,651.65
            MBH Real Estate, LLC                             $0.00
            Marta Martinez note+DOT
            liquidation value                                $0.00
            Total Revenue                            $4,581,656.39

            Liabilities                              $5,701,327.35

            Net Value                               ($1,119,670.96)




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                                EXHIBIT ANS304.01




                            EXHIBIT ANS304.01


                               PROJECTIONS

  THE PROJECTED FINANCIAL INFORMATION AND OTHER FORWARD LOOKING
  STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE BASED ON
  VARIOUS ASSUMPTIONS AND ESTIMATES AND WILL NOT BE UPDATED TO REFLECT
  EVENTS OCCURRING AFTER THE DATE HEREOF. SUCH INFORMATION AND
  STATEMENTS ARE SUBJECT TO INHERENT UNCERTAINTIES AND TO A WIDE
  VARIETY OF SIGNIFICANT BUSINESS, ECONOMIC, AND COMPETITIVE RISKS
  INCLUDING, AMONG OTHERS, THOSE DESCRIBED HEREIN. CONSEQUENTLY,
  ACTUAL EVENTS, CIRCUMSTANCES, EFFECTS AND RESULTS MAY VARY
  SIGNIFICANTLY FROM THOSE INCLUDED IN OR CONTEMPLATED BY SUCH
  PROJECTED FINANCIAL INFORMATION AND SUCH OTHER FORWARD-LOOKING
  STATEMENTS.


  NO CLAIM SHOULD BE DEEMED TO BE ALLOWED IN ANY PARTICULAR AMOUNT
  BASED UPON A DESCRIPTION OR REFERENCE TO ANY SUCH CLAIM OR TO ANY
  CLASS IN THE PROJECTIONS.




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 EXHIBIT ANS304.01 -- PROJECTIONS - SCENARIO 1
                                                                                       Anson Financial, inc. Projections

                          Year                    2022
 Month                                                    4                                                                                   10             11                 12
 Cash Carry Forward                             38,740.00     48,192.00    37,644.00       39,596.00     41,548.00     43,500.00       45,452.00    49,904.00          54,356-00        63,808.00        73,260.00      82,712.00
 Income
    Notes Receivable Pmts                       55,000.00      55,000.00   55,000.00       55,000.00     55,000.00     55,000.00       55,000.00     55,000.00        55,000.00         55,000.00        55,000.00     55,000.00
 Gross Income + Cash Forward                    93,740.00     103,192.00   92,644.00       94,596.00     96,548.00     98,500.00      100,452.00    104,904.00       109,356.00        118,808.00       128,260.00    137,712.00

 Operating Expenses
    Management Fees                              3,430.00.      3,430.00    3,430.00        3,430.00      3,430.00         3,430.00     3,430.00      3,430.00          3,430.00         3,430.00         3,430.00       3,430.00
    CPA Annual Tax Return                            55.00:       55.00        55.00           55.00         55.00           55.00         55.00         55.00              55.00            55.00           55.00           55.00
    LtabiliCy Insurance                          ,   50.00        50.00        50.00           50.00         50.00           50.00         50.00         50.00              50.00            50.00           50.00           50.00
   Property Taxes                                    ioM"         10.00        10.00           10.00         10.00           10.00         10.00         10.00              10.00            10.00           10.00           10.00


:Admlh (WKPZ:+3ubVTrustee):;jr                                20,000^00:   47^500:00      47,500.00; ;:i;-^oo.oo   ;_7,50a00_          4:5,000:00   4 5,000.00 4444:4i44:;:;444:444:
LCIass l:investdr;'N6t'es;;;                    39il36.00 ,   39:T36.6o"   39ri36.66:"    f^ir3g:oo: ^9,136":6o':" 39",136:60         "39,136;q0"   39,13^ .r:'>4 3^136100:            139:i36.dd4      439,136.00:   P3,9,136:D0i
iCla5s2SSA-                                      ^4:635.00/    ,;635.00.   V 635.004       rr 635.00^   ^4 4 635.00   4 : 635.00      4 635.00      14 635.00                          44i.;4 635.004      635-00'    ':'44:: 635:00:'
iCIass 3 Generalurisecured^Miist                 ,2;232.00>   "2.'232.00   :i2,232.00:,   ,2,232.00     - 2,232.00    4 2,232.00:      2,232.00:    ^2,232.Cd"" '"■2"232;00,           4442,232:004        232,00,       2,232.00
 Total Operating Expenses + Plan                45,548.00     65,548.00    53,048.00      53,048.00      53,048.00     53,048.00      50,548.00      50,548.00         45,548.00        45,548.00        45,548.00      45,548.00

                                                48,192.00      37,644.00   39,596.00       41,548.00     43,500.00     45,452.00       49,904.00     54,356.00         63,808.00        73,260.00        82,712.00      92,164.00




Anson plan exhibits 004 - scenario 1                                                                                                                                                                           3/9/2022 10:17 PM
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 EXHIBIT ANS304.01 -- PROJECTIONS - SCENARIO 1
                                                                                                      Anson Financial, Inc. Projections

                       Year                            2023                                                                                                                        2024
 Month
 Cash Carry Forward                                92.164.00            101,616,00       111,068,00       120,520.00      129,972,00      139,424,00    148,876,00   158,328.00   167,780,00    177,232,00      186,684.00     196,136.00
 Income
    Notes Receivable Pmts                          55,000.00             55,000,00                         55,000.00      55,000,00        55,000,00     55,000,00    55,000,00    55,000,00     55,000,00       55,000.00      55,000,00
 Gross Income + Cash Forward                      147,164.00            156,616.00                        175,520.00     184,972,00       194,424,00    203,876,00   213,328.00   222,780,00    232,232,00     241,684.00      251,136.00

 Operating Expenses
    Management Fees                                     3,430.00          3.430.00         3,430.00         3,430,00        3,430,00        3,430,00      3,430.00     3,430,00     3,430.00      3,430.00        3,430.00       3,430,00
    CPA Annual Tax Return                                  55.00            55-00            55.00             55,00           55,00           55,00        55.00         55,00       55.00          55.00           55,00          55,00
    Uabilitv insurance                                     50.00            50.00            50,00             50,00           50.00           soToo"       50,00         50.00       50.00          50,00           50,00         50.00
    Property Taxes                                     -••li3;0(j - -       10,00             10,00            10.00           io;oo           10,00       "10,00         10.00      "10.00"         10,00          "10,00          10.00"
 Plan
 Admin(WKPZ ■» SubV Trustee)       :
gClass .l Investor Notes      ^                        39,136.00         39,136.00        39,136.00        39,136T(M'      39,136.00,      39,l'36.00   ,39.136,00   T9,i36.00     39,136:00,    39,1^36:6^-     39,136.00
4Class2||A _;      ' _" ^ •                        .     635.00            635.00    •                                        635.00          635.00       635 00        635.00      635.00     , :,'63'5.b0'        635.00"
 class J.General unsecured'"                       '2,23100               2,232.00         2,232.00 '       2.232.00        2,232.00        1232.00       2.232.00     123100       2,232.00      .1232.0Q'r;r,.," 2,232.00
 Total Operating Expenses + Plan                   45,548.00             45,548.00        45,548.00        45,548.00       45,548.00       45,54'8.00    45,548.00    45,548.00    45,548.00     45,548.00       45,54'8.00
 Net Cash                                         101,616.00            111,068-00       120,520.00       129,972.00      139,424.00      148,876.00    158.328.00   167.780.00   177,232.00    186.684.00     196,136.00      205,588.00
                                                                                                                                                                                                                                             Case 21-41517-elm11 Doc 278 Filed 04/15/22
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 EXHIBIT ANS304.01 - PROJECTIONS - SCENARIO 1
                                                                                          Anson Financial, Inc. Projections

                                                                                                                                                                         2025

                                                                                                                                                   10            11             12
 Month
 Cash Carry Forward                             205,588.00      215,010.00                    233,944.00                      252,848.00    262,300.00   271,752.00     281,204.00                                309,560.00
 Income
                                                 55,000.00       55,000.00    55,000.00        55,000.00       55,000.00      55,000.00     55,000.00    55,000.00       55,000.00    55,000.00       55,000.00    55,000.00
    Notes Receivable Pmts
 Gross Income    Cash Forward                   260,588.00      270,040.00   279,492.00       288,944.00      298,396.00      307,848.00    317,300.00   326,752.00     336,204.00   345,656.00      355,108.00   364,560.00


 Operating Expenses
    Management Fees                               3,430.00        3,430.00     3,430.00         3,430.00        3,430.00        3,430.00      3,430.00     3,430.00       3,430.00      3,430.00       3,430.00     3,430.00
                                                                                                                                                55.00         55.00         55-00            55.00       55.00        55.00
    CPA Annual Tax Return                               55.00       55.00        55.00             55.00           55.00          55-00

    Liability Insurance                                 50.00       50.00        ^5q^00_           ^50.00          50.00          50.00         50.00         50.00         50-00            50.00       50.00        50.00

    PropeTtyTaxes                                                    10.00        io.oo            10.00"      "" "10.00"         "10.00"        10.00        10.00"        10700"     ""    10.00       10.00         10.00"
t^lan
pidmin(WKPZ -*• SubV Trustee)
[Class 1 fnvestorT^otes                          39,136.00       39,136.00    39,136.00        39,136.00       39,136.00       39,136.00     39.136.00    39,136.00      39,136.00     39,136.00      39,136.00    39,136.00
|Clas52SBA                                          635.00         635.00       635.00            63S.OO"         635.00         635 DO        635.00       635.00         635.00           635.00      635.00        635.00
iCIass 3 General unsecured                                        2,232.00     2,232.00         2.232.00"     ""2;'232.bQ"    "2;232.00     _2^232.0p.     2,y2JDp_     . 2,232.00     "2,232.00     ' i23"2'60" "7"2;232:60
 Total Operating Expenses + Plan                 45,548.00       45,548.00    45,548.00        45,548.00       45,548.00       45,548.00     45,548.00   ""45^548-00"   "45,548,00   ""45,54'8.bo"   '45,548.00    45,548.00

                                                215,040.00      224,492.00   233,944.00       243,396.00                      262,300.00    271,752.00   281,204.00                   300,108.00                  319,012,00




 Anson plan exhibits 004•scenario 1                                                                                                                                                                           3/9/2022 10:17 PM
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 EXHIBIT AN5304.01 - PROJECTIONS - SCENARIO 1
                                                                                             Anson FInandal,Inc. Projections




 Cash Carry Forward                              319,012.00       328,464.00    337,916.00      347,368.00     356,820.00      366,272.00   375,724.00   385,176.00   394,628.00   404,080.00    413,532.00   422,984.00
Income
    Notes Receivable Pmts                         55,000.00        55,000.00     55,000.00       55,000.00      55,000.00       55,000.00    55,000.00    55,000.00    55,000.00    55,000.00     55,000.00    55.000.00
 Gross Income + Cash Forward                     374,012.00       383,464.00    392,916.00      402,368.00     411,820.00      421,272.00   430,724.00   440,176.00   449,628.00   459,080.00    468,532.00   477,984.00

 Operating Expenses
    Management Fees                                3,430.00         3,430.00      3,430.00         3,430.00       3,430.00       3,430.00     3,430.00     3,430.00     3,430.00     3,430.00      3,430.00     3,430.00
   CPA Annual Tax Return                              55.00            55.00        55.00            55.00          55.00          5^00_        55.00         55.00       55.00        SS.OQ         55.00        55.00
    Liability Insurance                                   50.00        50.00        50.00            ^S0.00_        50.00          50.00        50.00       _ 50.00       50.00        50.00         50.00        50.00
    Property Taxes                                                     10.00        10.00"            io":oo         10.00         10.00        "10.00    " "10.00      " "10.00      "10.00          10.00       10.00


Admin(WKPZ t SubV Trustee)
 Class 1 Investor Notes                           39,136.00        39,138.00     39,136.00       39,136.00      39,136.00       W,1S^5^      39,136.00    39,136.00    39,136.00    39,136.00     39,136.00    39,136.00^
__Class 2_SBA                                        635^(»           635.00"      635.00           635.00         635.00      " "'63lob       635.00       635.00       635.00       635.00        635.00       63S.00'|
 Class 3 General unsecured                         X232.60        " 2,232.00      2,232.00         2,232.00       2,23l00        2,232.00     2,232.00   ' 2,23li30     2;232.6b   "2.232-00    '2:23"lt)b      liZ32:b0|
Total Operating Expenses * Plan                   45,548.00        45,548.00     45,548.00       45,548.00      45,548.00       45,548.00    45,548.00    45,548.00    45.548.00    45,548.00     45,548.00    45,548.00

                                                 328,464.00       337,916.00                                   366,272.00      375,724.00   385,176.00                404,080.00   413,532.00    422,984.00




Anson plan exhibits 004 - scenario 1                                                                                                                                                                     3/9/2022 10:17 PM
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 EXHIBIT ANS304.01 -- PROJECTIONS - SCENARIO 1
                                                                                               Anson Financial, Inc. Projections

                      Year                                                                                                                                                    2026
 Month                                                                                                                                                    10           11            12

 Cash Carry Forward                               432,436.00                      451,340.00                                                      489,148.00    498,600.00   508,052.00
 Income
    Notes Receivable Pmts                          55.000-00         55,000.00     55,000.00        55,000.00      55,000.00        55,000.00      55,000.00     55,000-00    55,000.00    55,000.00     55,000.00      55.000.00
 Gross Income + Cash Forward                      487,436.00        496,888.00    506,340.00      515,792.00"     525,244.00       534,696.00     544,148.00    553,600.00   563,052.00   572,504.00    581,956.00     591,408.00

 Operating Expenses
    Management Fees                                  3,430-00         3,430.00      3,430.00         3,430.00        3,430.00          3,430.00     3,430.00      3,430.00     3,430.00     3,430.00      3,430.00       3,430.00
    CPA Annual Tax Return                                  55.00_       55.00         55.00             55.00           55.00            55.00         55.00        55.00        55.00        55.00          55.00          55.00
    Liability Insurance                                    50.00        50.00_        50.00             50.00           50.00            50.00         50.00      _ 50.00        50.00        ^50.00_        50.00        _50.00
    PrbpVrty Taxes                                  —
                                                                         io;oo"       10.00"            "10.00"    "" io:oo"             10.00         io.oo"      "10.00        io.oo"       lO.OO      ~"IO.OO"           io:oo


 Admin(WKPZ SubV Trusteep^
"cfass 1 investor Notes        '                   39,136.00         39,136.00     39,136.00        39,136.00       39,136.00       39,136.00      39,136.00     39,136.00    39,136.00    39.136.00     39,136.00      39,136.00;;
 Ctass_2SBA_                                            635.00         '635.00       635.00            635.00          635.00      ,    635.00       635.00        635.00       635.00     __ 635.00        635.00        635.00J
 Class 3 ijenerai unsecured                         "2,23lOO        '2.232.00       2,232.00         2,232.00        2,232.00       '2,232.00"    " 2",232:60     2,232.00     2:23200      2.232.0b'   ""2,232.66""     2,232001
 Total Operating Expenses + Plan                   45,548.00         45,548.00     45,548.00        45,548.00       45,548.00       45,548.00      45,548.00     45,548.00    45,548.00    45,548.00     45,548.00      45,548.00


                                                  441,888.00        451,340.00    460,792.00       470,244.00     479,696.00       489,148.00     498,600.00                              526,956.00    536,408.00




Anson plan exhibits 004•scenario 1                                                                                                                                                                               3/9/2022 10:17 PM
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 EXHIBIT ANS304.01 -- PROJECTIONS - SCENARIO 2
                                                                                 Anson Financial, Inc. Projections


                      Year                       2022
 Month                                                  4                                                                                 10            11           12                           2            3

 Cash Carry Forward                            38,740,00    40,424.00     32,108,00    26,292,00     20,476,00       15,160,00     11,844,00     8,528,00       5,212.00     1,896.00      2,580,00     3,264.00
 Income
    Notes Receivable Pmts                      55,000^      55,000,00     55,000.00    55,000.00     55,000.00       55,000.00     55,000,00    55,000.00      55,000.00    55,000.00     55,000.00    55,000.00
 Gross Income   Cash Forward                    93,740.00   95,424,00     87,108.00    81,292.00     75,476.00       70,160.00     66,844.00    63,528.00      60,212.00    56,896.00     57,580.00    58,264.00


 Operating Expenses
   Management Fees                               3,430.00    3,430,00      3,430,00     3,430,00      3,430.00        3,430.00      3,430.00      3,430.00      3,430,00      3,430.00     3.430.00     3,430,00
   CPA Annual Tax Return                           55.00        55,00        55,00         55,00          55.00          55.00         55.00         55.00         55.00         55.00        55.00        55,00

   Liability Insurance                             50.00        50.00        50,00         50.00          50.00          50.00         50.00         50.00         50.00         50.00        50,00        50.00

    Property Taxes                                               0.00        10.00         10.00          10,00          10.00         10,00         10,00         10.00         10.00        10.00        10,00

 Plan                 _
 Admlii'(WKPZ 4- SubVT)"""                                  1q,ooo".oo"    7,500.00   ""7;500:'00'"                   5,ooo.oq_,   _|:bOT76b~     5,bOQ;00~    __5,000^0      r,000.00    : 1,000.00    1,000.00
 Class 1 Investor Notes                         39,136.00    39,13^00     39.136,00    39","l36.00" "3'9,136.'00     39,i36".b"0   39"i36!b"b   39,136,00      39,136,00    ~3"9,136.00    39.136.00   39,136.00
 Class 2 SBA"                                     635.00       635,00       635.00        635,00'    635.0(7   635.0^      635.00"                                635.00     ' 635.00        635.00       635.00
                                                                                                                                                                                                       lo.boo.oo,:
                                                                                                                                                 _




 Class 3 General unsecured   .   ,              10,000.00   10,000,00     10,000,00    i6,oo6:bo' "iblobbbb 'lo.bbabo " lorooo.bo               "■io',oooTbo   10,000.00,   10,000.00'    10,000.00"
 Total Operating Expenses Plan                  53,316,00   63,316.00     60,816,00    60,816,00     60,315.00       58,316.00     58,316.00     58,316.00     58,316,00    54,316.00     54,316,00    54,316.00


                                                40,424,00   32,108.00     26,292.00    20,476.00     15.160,00       11,844,00                    5,212.00                                 3,264,00     3,948.00




Anson plan exhibits 004 • scenario 2                                                                                                                                                             3/9/2022 10:24 PM
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                                   Case 21-41517-elm11 Doc
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  EXHIBIT ANS304.01 - PROJECTIONS - SCENARIO 2
                                                                                       Anson Financial, Inc. Projections

                         Year                      2023                                                                                                           2024
 Month                                                    4           5           6                 7                             9            10          11            12                                    3
 Cash Carry Forward                                 3,948.00    4,632.00    5,316.00         6,000.00                       7,368.00      9,052.00   10,736.00    12,420.00                            17,472.00
 Income
    Notes Receivable Pmts                         55,000.00    55,000.00   55,000.00        55,000.00       55,000.00      55,000.00    55,000.00    55,000.00   "^6oo76o"    55.000.00   55,000.00    55,000.00
 Gross Income + Cash Forward                      58,948.00    59,632.00   60,316.00        61,000.00       61,684.00      62,368.00    64,052.00    65,736.00   67,420.00    69,104.00   70,788.00    72,472.00

 Operating Expenses
    Management Fees                                3,430.00     3,430.00    3,430.00         3,430.00        3,430.00       3,430.00      3,430.00    3,430.00    3,430.00     3,430.00    3,430.00     3,430.00
    CPA Annual Tax Return                             55.00       55-00       55.00             55.00           55.00         55.00         55.00       55.00        55.qo_      55.00       55.00         55.00
    LiabllKv Insurance                                50.00       50.00       50.00           _5000_            50^00_        50.00_        50.00     _ 50.00       _5o7oo      _50.00_      50.00         50.00
    Property taxes                                                 10.00      ioioo             io.oo           iO'.OO         10.00        10.00      "io.oo"       10.00        10.00       i"o:oo       lO.OO"
 Plan
 Admin(WKPZ Sub                                       miK                     null I                          •I III!




 Class 3 general unsecured                        10,000.00    10,000.00   10,000.00       10,000.00       10,000.00       10,000.00    10,000.00    10.000.00   10,000.00    10.000.00   10,000.00    10,000.00:
 Total Operating Expenses + Plan                  54,316.00    54,316.00   54,h6?o6'       54,316.00       54,316.00       53,316.00   '53,3'16.66   53,316.00   53,316.00    53,316.00   53,316.00    53,316.00

                                                                           6,000.00          6,684.00        7,368.00       9,052.00    10,736.00                14,104.00                17,472.00    19,156.00




Anson plan exhibits 004 - scenario 2                                                                                                                                                             3/9/2022 10:24 PM
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                                   Case 21-41517-elm11Doc
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  EXHIBIT ANS304.01 -- PROJECTIONS - SCENARIO 2
                                                                                            Anson Financial, Inc. Projections




 Cash Carry Forward                                19,156.00       20,840,00    22,524.00        24,208.00       25,892.00      27,576.00   29,260.00   30,944.00     32,628.00     34,312.00   35,996.00    37,680.00
 Income
    Notes Receivable Pmts                          55,000.00       55,000.00    55,000.00        55.000.00       55,000,00      55,000.00   55,000.00   55,000.00     55,000.00     55,000,00   55,000.00    55,000.00
 Gross Income + Cash Forward                       74,156.00       75,840.00    77,524.00        79,208.00       80,892.00      82,576.00   84,260.00   85,944.00     87,628.00     89,312.00   90,996.00    92,660.00

 Operating Expenses
    Management Fees                                 3,430,00        3,430.00     3,430.00         3,430.00        3,430.00       3,430.00    3,430.00    3,430.00      3,430.00      3,430.00     3,430.00    3,430.00
    CPA Annual Tax Return                                  55.00      55.00        55.00             55.00           55.00         55.00       55.00        55.00        55.00         55.00        55.00        55.00
    Liability Insurance                                    50.00      50,00        50.00             50.00           50.00         50.00       50.00        50.00        50.00         50.00        50.00        50,00
    PropertyTaxes                                          10.00       10.00      "10.00             10.00           10,00         10.00       10.00        10.00        10.00~        10.00        10.00        10.00

;Admln(WKPZ-t-SubVT)
'Class 1 Investor Notes                            39,136.00       39,136.00    39,136.00        39,136.00       39,136.00      39,136.00   39il36.0D   39.136.00 ■   39,136.00     39,136.00   39,136.00    39,136.0(M
_Cl3SS_2SBA                                           635^0          635.00       635.00            635.00"         635.00        635.00      635.00~     635.a>        635.00        635.00       635.00       635:^
 Class 3 General unsecured                         ib.boo.oo'      jo.opo^o     10,000.00        10,000.00       10,000.00      10,000.66   iQ,6oa66'   iqooo.oo      10,000.00"   "i6.666.66   "16,600.00   iO.QOOioa
 Total Operating Expenses + Plan                   53,316.00       53:316.00'   53,316.00        53,316-00       53",3'l6.00    53,316.00   53,316.00   53,316.00     53,316.00     53,316.00   53,316.00    53,316.00

                                                                                                                                            30,944.00   32,628.00     34,312.00     35,996.00   37,680.00    39,364.00




Anson plan exhibits 004 - scenario 2                                                                                                                                                                    3/9/2022 10:24 PM
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                                   Case 21-41517-elm11Doc
                                                      Doc262
DRAFT- NO ADDMISSION OF LIABILITY - SUBJECT TO REVISION
                                                          278Filed
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 EXHIBIT ANS304.01 -- PROJECTIONS - SCENARIO 2
                                                                                         Anson Financial, Inc. Projections

                        Year                       2025                                                                                                              2026
 Month                                                    4                         6                                                            10           11            12
 Cash Carry Forward                               39,364.00                  42,732.00        44.416.00                                    49,468.00    51,152.00    52,836.00    54,520.00
 Income
    Notes Receivable Pmts                         55,000.00    55,000.00     55,000.00        55,000.00      55,000.00        55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00    55,000.00
 Gross Income + Cash Forward                      94,364.00    96,048.00     97,732.00        99,416.00     101,100.00       102,784.00   104,468.00   106,152.00   107,836.00   109,520.00   111,204.00   112,888.00

 Operating Expenses
    Management Fees                                3,430.00     3,430.00      3,430.00         3,430.00        3,430.00        3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00     3,430.00
    CPA Annual Tax Return                             55.00        55.00        55.00             55.00           55.00          55.00        55.00        55.00        55.00        55.00        55.00        55.00
    Liability Insurance                               50.00'       50.00        50.00          _ 50.00            50.00          ^50.00      _S0.00        50.00        50.00        50.00        50.00        50.00
    Property Taxes                                                 io.oo        in'nn            "io.oo           lO.OO                       lO.OO        lOiOO
                                                                                                                                 10.00                                  10.00        10.00        lO.'OO      "lO.OO
 Plan','      .'i r •
 Admin(WKPZ SubVT)
 cfass 1 Investor Notes                           39,136-00    39,136.00     39,136.00       39,136.00        39,136.00      .sa,i30.uO   39,136.00    39,136.00    39,136.00    39,136.00    39,136.00    39,136.00
 ?!?.5SiSBA                                        _ 635.00       635.00       635.00           635.00          635.00          635.00       635.00       635.00       635.00       635.00       635.00       635.0q
 class 3 General unsecured                        iQ;oob:cio   lO.OTO.OO     10,000.00       loopo^          io,ooo.o6        10,000.00   iqooo.oo     io",oo6.66    10,000.00   ib".bo6:6b   ib.bo"b:b5   ib.bbo.bb
 Total Operating Expenses + Plan                  53,316.00    sa.'iie'.oo   53,316.00       53,31^00        53,316.00       53,316.00    53,316.00    53,316.00    53,316.00    53,316.00    53,316.00    53,316.00

 Net Cash                                         41,048.00    42,732.00     44,416.00       46,100.00       47,784.00       49,468.00    51,152.00    52,836.00    54,520.00    56,204.00    57,888.00    59,572.00




Anson plan exhibits 004 - scenario 2                                                                                                                                                                  3/9/202210:24 PM
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                                   Case 21-41517-elm11Doc
                                                      Doc262
DRAFT - NO ADDMISSION OF LIABILITY - SUBJEa TO REVISION
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 EXHIBIT ANS304.01 -■ PROJECTIONS - SCENARIO 2
                                                                                                Anson Financial, inc. Projections

                      Year                         2025                                                                                                                       2026

 Month                                                       4                                                                                           10            ^             ^
 Cash Carry Forward                                59,572.00       61,256.00     62,940.00           64,624.00       66,308.00                     69,676.00   71,360.00      73,044.00     74,728.00     76,412.00     78,096.00
 income
    Notes Rceclvabic Pmts                          55,000.00        55,000.00    55,000.00           55,000.00"      55,000.00       55,000.00     55,000.00    55,000.00     55,000.00     55,000.00     55,000.00"    55,000.00"
 Gross income * Cash Forward                      114,572.00"      116,256.00   117,940.00          119,624.00      121,308.00      122,992.00    124,676.00   126,360.00    128,044.00    129,728.00    131,412.00    133,096.00


 Operating Expenses
    Management Fees                                 3,430.00         3,430.00     3,430.00            3,430.00        3,430.00        3,430.00      3,430.00     3,430.00      3,430.00      3,430.00      3,430.00      3,430.00
    CPA Annual Tax Return                          _ 55.00              55,00          55.00             55.00           55.00           55.00         55.00        55.00         55.00         55.00         55.00         55.00

    Liability Insurance                               "50.00"         _ 50,00          50.00             50.00           50.00           50.00         50,00        50.00         50.00_      _50.00          50.00         50.00
    Property Taxes                                        IJTOS"        io:oD     "    10.00              10.00           10.00          10.00         10.00       "10.00"        10.00         10.00         10.00      """10,00""
 Plan
 Atimin (WKPZ + SubVT)
 Class 1 investor Notes                           _39,l_3y)_0_      39,136.00    39,136.00           39,136.00       39,136.00       39,136.00     39,136.00    39,136.00     39,136,00     39,136.00:    39,136.00     39,136 00-
_a3Ss2SBA                                            ""63"5.00        63^66"          'eisioo        " 635.00           635.00          635.00       5~35.00      635.00        ,635.00      : 635.00      - 635.00        635.00
 class 3 General unsecured                         10,000,00       "10.000.00    10,000.00           10,000.00       io.oboiod'      lO.bQO.OO'    10,000.00    10,000.00'    10,000.00     10,000.00     10,000.00    lO.OOO.OOJ
 Total Operating Expenses + Plan                   53,316.00        53,316.00    53,316.00           53,316.00       53,316.00      "53,316.00     53,316.00    53,316.00     53,316.00    "5'3"316.00    53,316,00     53,316,00

                                                   61,256.00                     64,624,00           66,308.00       67,992,00       69,676.00                                              76,412.00     78,096.00     79,780,00




Anson plan exhibits 004 • scenario 2                                                                                                                                                                              3/9/2022 10:24 PM
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Case 21-41517-elm11 Doc 278 Filed
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                                  EXHTBTT ANS305.01

                                RETAINED CAUSES OF ACTION


 Any and claim facts, claims, issues, rights, remedies, and/or defenses with respect to each of the
 Investor Notes and the obligations underling each ofthe Investors Notes.

 Any and claim facts, claims, issues, rights, remedies, and/or defenses with respect to any lawsuit,
 civil action,contested matter, adversary proceeding, and/or any other proceeding pending as ofthe
 Petition Date, initiated after the Petition Date, and/or otherwise pending prior to or as of the
 Effective Date ofthe Plan with any other party and/or relating to any ofthe Investor Notes and/or
 the obligations underling each of the Investors Notes, and further including any facts, claims,
 issues, rights, remedies, and/or defenses in any ofthe actions pending as of the Petition Date that
 are referenced and described in the Schedules, Statement of Financial Affairs, this Plan, and/or
 any supplement to this Plan.

 Any facts, claims, issues, rights, remedies, and/or defenses related to any claim or cause of action
 under Chapter 5 ofthe Bankruptcy Code, 11 U.S.C.§ 101 et seq. and identified, referenced, and/or
 described in the Schedules, Statement ofFinancial Affairs,this Plan,and/or any supplement to this
 Plan.


 Any and all facts, claims, issues, rights, remedies, and/or defenses ofthe Debtor asserted or which
 may be asserted in any pending lawsuit,civil action,contested matter, and/or adversary proceeding
 and/or any other proceedings referenced and described in the Plan and/or otherwise pending prior
 to or as ofthe Effective Date ofthe Plan.


 Any facts, claims, issues, rights, remedies, and/or defenses of the Debtor referenced and/or
 described in Plan §1.8.3.




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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT pF TEXAS
                                   FORT WORTH DIVISION


   IN RE:


   ANSON FINANCIAL,INC.,                                          CASE NO.21-41517


          DEBTOR.


        BALLOT REGARDING SECOND AMENDED SUBCHAPTER V PLAN
        OF REORGANIZATION OF ANSON FINANCIAL, INC. DATED
        MARCH 15, 2022

 TO ALL CREDITORS:
        You may vote on the Second Amended Subchapter V Plan of Reorganization of
  Anson Financial, Inc. (Docket No. 262)(the "PlarF) by completing and returning this Ballot as
  set forth below. In order to have your vote count you must reti^ this Ballot. This Ballot should
  be returned to:


                Jeff Carruth
                Weycer,Kaplan,Pulaski & Zuber,P.C.
                3030 Matlock Rd., Suite 201
               Arlington, TX 76015
               713-341-1158,fax (866)666-5322
               jcarruth@wkpz.com

  on or before April 13. 2022 at 11:59 p.m. Central Time (CTl (the Ballot Deadline'^ the
  date and time set forth in the Notice (I) of Hearing to Consider Confirmation of Second
  Amended Subchapter VPlan ofReorganization ofAnson Financial, Inc. Dated March 15, 2022
  and (II) Related Deadlines.
         Ballots must be received by the Voting Deadline in order to be counted. You should
  review the Disclosure Statement and the Plan before vou vote.

         Your ballot must be signed in order to be counted.




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 BALLOT REGARDING PLAN OF REORGANIZATION OF ANSON FINALGIAL,INC.— Page 1 of2 21 l4787.DOCX(i]
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  CLASS 1 — INVESTOR NOTES                       CLASS 2 — SMALL BUSINESS
                                                 ADMINISTRATION


  UNIMPAIRED-NOT ENTITLED TO VOTE                UNIMPAIRED - NOT ENTITLED TO VOTE
  CLASS 3 — General Unsecured Creditors          CLASS 4 — Eauitv Interests


 For:                  Against:
                                                 UNIMPAIRED - NOT ENTITLED TO VOTE


 Amount of Claim:$




 SIGNATURE FOR BALLOT:                      Your ballot must be sisned in order to be counted.




 NAME OF CREDITOR:


 Signature:

 By [Print Name]:

 Title:

 Date:




 BALLOT REGARDING PLAN OF REORGANIZATION OF ANSON FINALCIAL,INC. — Page 2 of2 21 l4787.DOCX[i)
